                 IN THE UNITED STATES BANKRUPTCY COURT
                  FOR THE MIDDLE DISTRICT OF TENNESSEE
                           NASHVILLE DIVISION



 IN RE:                                         Case No, 3:19-bk-07235
                                                Chapter 7
 CUMMINGS MANOOKIAN, PLLC                       Judge Walker

         Debtor.                                Adv. Proc. No. 3:23-ap-90036

 BRIAN CUMMINGS

         Plaintiff,

 v.

 BRETTON KEEFER, on behalf of
 the deceased CHESTA
 SHOEMAKER, AFSOON HAGH, and
 JEANNE BURTON, Trustee on
 behalf of CUMMINGS
 MANOOKIAN, PLC,

         Defendants.


          APPELLANTS BRETTON KEEFER AND AFSOON HAGH’S
     STATEMENT OF ISSUES ON APPEAL AND DESIGNATION OF RECORD


         Pursuant to Federal Rule of Bankruptcy Procedure 8009, Appellants hereby file

this Statement of the Issues to be Presented on Appeal and Designation of Items to be

Included in the Appellate Record.

I.       Issues To Be Presented

         Whether the Bankruptcy Court erred in failing to dismiss this adversary

proceeding, or, in the alternative stay the proceeding pending mediation and arbitration.




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         Whether the Bankruptcy Court erred in making findings and rulings that were

neither briefed nor requested by any party to this litigation in violation of the party

presentation principle.

         Whether the Bankruptcy Court has jurisdiction to hear this matter where the

Plaintiff has pled no claims against the Debtor or Trustee, and the Plaintiff further failed

to file any Notice of Claim with respect to the Debtor during the allotted period of time to

the present.

II.      Designation of Items To Be Included in Appellate Record

         The items to be included in the appellate record consist of the following:

      • All docket entries in the bankruptcy proceeding (No. 3:19-bk-07235), this

adversary proceeding (No. 3:23-ap-90036) and related adversary proceeding (No. 3:20-

ap-90002), specifically including adversary proceeding docket entries 9, 12, 20, and all

attachments thereto.

      • Transcript of August 30, 2023 adversary proceeding hearing on motion to dismiss.




Date: September 22, 2023                   Respectfully submitted,


                                            /s/ John Spragens
                                            John Spragens (TN Bar No. 31445)
                                            Spragens Law PLC
                                            311 22nd Ave. N.
                                            Nashville, TN 37203
                                            T: (615) 983-8900
                                            F: (615) 682-8533
                                            john@spragenslaw.com

                                            Attorney for Appellants



                                               
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                            CERTIFICATE OF SERVICE

       The undersigned hereby certifies that the foregoing was filed September 22, 2023
and served electronically upon all parties in interest or their counsel as indicated on the
receipt issued by the Court’s electronic filing system.


                                                 /s/ John Spragens




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                                                            APLDIST, APPEAL, OPENAP, NOCLOSE




                            U.S. Bankruptcy Court
                  MIDDLE DISTRICT OF TENNESSEE (Nashville)
                      Bankruptcy Petition #: 3:19−bk−07235
                                                                     Date filed: 11/06/2019
Assigned to: Charles M Walker                                      341 meeting: 12/02/2019
Chapter 7
Voluntary
Asset


Debtor                                             represented by STEVEN L LEFKOVITZ
CUMMINGS MANOOKIAN, PLLC                                          LEFKOVITZ AND LEFKOVITZ, PLLC
45 MUSIC SQUARE WEST                                              908 Harpeth Valley Place
NASHVILLE, TN 37203                                               NASHVILLE, TN 37221
DAVIDSON−TN                                                       615 256−8300
Tax ID / EIN: 47−2636732                                          Fax : 615 255−4516
                                                                  Email: slefkovitz@lefkovitz.com

                                                                  JOHN T. SPRAGENS
                                                                  SPRAGENS LAW PLC
                                                                  311 22ND AVE N
                                                                  NASHVILLE, TN 37203
                                                                  615−983−8900
                                                                  Fax : 615−682−8533
                                                                  Email: JOHN@SPRAGENSLAW.COM

Trustee                                            represented by PHILLIP G YOUNG
JEANNE ANN BURTON                                                 Thompson Burton PLLC
Jeanne Ann Burton PLLC                                            One Franklin Park
4117 Hillsboro Pk                                                 6100 Tower Circle, Suite 200
Suite 103−116                                                     FRANKLIN, TN 37067
NASHVILLE, TN 37215                                               615−465−6008
615 678−6960                                                      Fax : 931−381−0058
                                                                  Email: phillip@thompsonburton.com

U.S. Trustee                                       represented by MEGAN REED SELIBER
US TRUSTEE                                                        US Trustee's Office
OFFICE OF THE UNITED STATES                                       701 Broadway
TRUSTEE                                                           Suite 318
701 BROADWAY STE 318                                              Nashville, TN 37203
NASHVILLE, TN 37203−3966                                          615−736−2254
615 736−2254                                                      Email: megan.seliber@usdoj.gov

 Filing Date      #                                                                       Docket Text

                      1   Chapter 7 Voluntary Petition for Non−Individuals. Fee Amount is $335.00. Schedule A/B d
 11/06/2019               due 11/20/2019. Incomplete Filings due by 11/20/2019. (LEFKOVITZ AND LEFKOVITZ

 11/06/2019           2   First Meeting of Creditors and Notice of Appointment of Interim Trustee − Meeting on 12/0
                          Broadway, Room 100, Nashville, TN 37203. JEANNE ANN BURTON, is appointed Interi
                          of creditors unless the appointment is rejected within five days. Trustee is deemed covered
                          exceed $720,000. Absent election of a Trustee pursuant to 11 U.S.C. Section 341(a), Interim

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                                                                                                            1
                     appointment or qualification under the same bond. (admin, ) (Entered: 11/06/2019)

               3     BNC Certificate of Notice. (RE: related document(s)2 Meeting (AutoAssign Chapter 7b)) N
11/09/2019           11/09/2019)

               4     Receipt of Voluntary Petition (Chapter 7)(3:19−bk−07235) [misc,volp7] ( 335.00). Receipt
11/11/2019           1) (U.S. Treasury) (Entered: 11/11/2019)

               5     Notice of Appearance and Request for Service pursuant to Rule 2002 Filed on the behalf of
11/14/2019           Chase. (PURYEAR, DANIEL) (Entered: 11/14/2019)

               6     Application and Notice to Employ Thompson Burton PLLC as Attorney. (Special Counsel)
                     12/17/2019 at 09:00 AM at Courtroom 2, 2nd Floor Customs House, 701 Broadway, Nashv
                     Certificate of Service mailed on 11/18/19. Filed on the behalf of: Trustee JEANNE ANN B
11/18/2019           11/18/2019)

               7     Amended Schedule(s) Schedule E/F. Fee Amount is $31.00 Filed on the behalf of: Debtor C
11/19/2019           AND LEFKOVITZ, PLLC) (Entered: 11/19/2019)

               8     Debtor's Notice of Amendment to Schedule F Filed on the behalf of: Debtor CUMMINGS M
11/19/2019           (LEFKOVITZ AND LEFKOVITZ, PLLC) (Entered: 11/19/2019)

               9     Original Schedule(s) Schedule A/B,Schedule G,Schedule H, Filed on the behalf of: Debtor
11/19/2019           (LEFKOVITZ AND LEFKOVITZ, PLLC) (Entered: 11/19/2019)

               10    Statement of Financial Affairs for Non−Individual Filed on the behalf of: Debtor CUMMIN
11/19/2019           LEFKOVITZ, PLLC) (Entered: 11/19/2019)

               11    Receipt of Amended Schedule(s)(3:19−bk−07235) [misc,amdsch] ( 31.00). Receipt number
11/20/2019           Treasury) (Entered: 11/20/2019)

12/03/2019     12    Meeting of Creditors Held as Scheduled. (BURTON, JEANNE) (Entered: 12/03/2019)

               13    Notice of Appearance and Request for Service pursuant to Rule 2002 Filed on the behalf of
12/04/2019           George Robertson, M.D., Middle Tennessee Pulmonary, Toby Smith, M.D.. (NORTH, PHI

               14    Objection to (6 Application and Notice to Employ − BK Motion) Certificate of Service mai
                     12/17/2019 at 09:00 AM at Courtroom 2, 2nd Floor Customs House, 701 Broadway, Nashv
12/09/2019           Party BRIAN MANOOKIAN (RE: related document(s)6). (jmw) (Entered: 12/09/2019)

               15    Exhibit and Witness List Filed on the behalf of: Trustee JEANNE ANN BURTON (RE: rel
12/13/2019           (Entered: 12/13/2019)

               16    Supplemental Brief/Memorandum in Support of Application of Trustee to Employ Special C
12/17/2019           ANN BURTON (RE: related document(s)6, 14). (YOUNG, PHILLIP) (Entered: 12/17/201

               17    Witness and Exhibit List from trial or Hearing Hearing Held 12/17/19 (RE: related docume
12/19/2019           Motion, 14 Objection (Hearing)) (lel) (Entered: 12/19/2019)

               18    Brian Manookian's Supplemental Reply/ Response to (In Opposition of) Trustee's Motion to
12/19/2019           Interested Party BRIAN MANOOKIAN (RE: related document(s)6, 14). (anm) (Entered: 1

               19    Trustee's Response to Brian Manookian's Supplemental Reply. (Attachments: # 1 Exhibit A
12/20/2019           BURTON (RE: related document(s)6, 14, 18). (YOUNG, PHILLIP) (Entered: 12/20/2019)

12/20/2019

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                                                                                                         2
                     Email Judge Charles M. Walker of Late Filed Matter. Certificate of Service Mailed on 12/2
                     ANN BURTON (RE: related document(s)19). (YOUNG, PHILLIP) (Entered: 12/20/2019)

               20    Order Regarding Trustee's Application and Notice to Employ Thompson Burton PLLC as Sp
                     Trustee Until December 24, 2019 to File Supplemental Application and Supporting Affidav
                     Provide Details and Full Disclosure of Any Current or Potential Conflicts that May Exist. (
12/20/2019           Signed on 12/20/2019. (sdt) (Entered: 12/20/2019)

               21    Supplemental Brief/Memorandum in Support of Application of Trustee to Employ Special C
                     Motion) # 2 Exhibit 2 (Receivership Order) # 3 Exhibit 3 (TRO) # 4 Exhibit 4 (Agreed Ord
                     Into Court) # 6 Exhibit 6 (Second TRO) # 7 Exhibit 7 (Injunction)) Filed on the behalf of: T
12/21/2019           document(s)6, 20). (YOUNG, PHILLIP) (Entered: 12/21/2019)

                     Email Judge Charles M. Walker of Late Filed Matter. Filed on the behalf of: Trustee JEAN
12/21/2019           (YOUNG, PHILLIP) (Entered: 12/21/2019)

12/22/2019     22    BNC Certificate of Notice. (RE: related document(s)20 Order) Notice Date 12/22/2019. (A

               23    Order Granting Trustee's Application to Employ Thompson Burton PLLC as Special Couns
12/23/2019           Related Doc #14, 16, 18, 19, 21), BY THE COURT: Judge Charles M. Walker (anm) (Ente

               24    Brian Manookian's Request for Leave to Respond in Opposition and Objection to (6 Applic
                     Objection (Hearing), 20 Order, 21 Brief/Memorandum − BK) Certificate of Service mailed
12/23/2019           Party BRIAN MANOOKIAN (RE: related document(s)6, 14, 20, 21). (anm) (Entered: 12/2

                     Email Judge Charles M. Walker of Late Filed Matter. Filed on the behalf of: Interested Part
12/23/2019           document(s)24). (jmw) (Entered: 12/23/2019)

               25    BNC Certificate of Notice. (RE: related document(s)23 Application to Employ − BK Order
12/25/2019           12/26/2019)

               26    Order Denying Brian Manookian's Request for Leave to Respond (RE: Related Doc#: 21, 2
12/26/2019           12/26/2019)

12/28/2019     27    BNC Certificate of Notice. (RE: related document(s)26 Order Denying − SA Order) Notice

               28    Trustee's Notice of Assets & Request for Notice to Creditors Deadline to file Proof of Claim
01/02/2020           01/02/2020)

01/05/2020     29    BNC Certificate of Notice. (RE: related document(s)28 Trustee's Notice of Assets) Notice D

               30    Adversary case 3:20−ap−90002. Complaint by Jeanne Ann Burton against Hagh Law PLL
                     Bank and Trust Company. Fee Amount is $350.00. Filed By Trustee, Fees will be deferred.
                     AP Cover Sheet) Nature of Suit: (13 (Recovery of money/property − 548 fraudulent transfe
01/08/2020           of property)) (YOUNG, PHILLIP) (Entered: 01/08/2020)

               31    Notice of Appearance and Request for Service pursuant to Rule 2002 Filed on the behalf of
01/24/2020           (CASH, HARRY) (Entered: 01/24/2020)

               32    Trustee's Motion and Notice to Compel Turnover of Records Filed on the behalf of: Trustee
01/28/2020           (Entered: 01/28/2020)

               33    Notice of Hearing on Motion and Notice to Compel − BK Motion− Turnover of Records −
                     scheduled 2/11/2020 at 09:00 AM at Courtroom 2, 2nd Floor Customs House, 701 Broadwa
01/28/2020           document(s)32) (lel) (Entered: 01/28/2020)

01/30/2020     34    BNC Certificate of Notice. (RE: related document(s)33 Notice of Hearing) Notice Date 01/
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                                                                                                        3
               35    Motion For Sanctions for Violation of the Automatic Stay Certificate of Service mailed on
01/31/2020           ANN BURTON. (BURTON, JEANNE) (Entered: 01/31/2020)

               36    Notice of Appearance and Request for Service pursuant to Rule 2002 Filed on the behalf of
01/31/2020           PLLC. (GABBERT, CRAIG) (Entered: 01/31/2020)

               37    Order Continuing Hearing Re: (related document(s): 32 Motion and Notice to Compel − BK
                     Notice of Hearing) Hearing has been rescheduled for 02/18/2020 at 10:00 AM in Courtr
                     Broadway, Nashville, TN 37203. Hearing rescheduled due to scheduling conflict. Respons
02/03/2020           (Entered: 02/03/2020)

               38    Notice of Hearing on Motion for Sanctions for Violation of the Automatic Stay − BK Motio
02/03/2020           Courtroom 2, 2nd Floor Customs House, 701 Broadway, Nashville, TN 37203. (RE: related

               39    Notice of Appearance and Request for Service pursuant to Rule 2002 Filed on the behalf of
02/04/2020           PLLC. (ROSE, GLENN) (Entered: 02/04/2020)

02/05/2020     40    BNC Certificate of Notice. (RE: related document(s)38 Notice of Hearing) Notice Date 02/

               41    Brian Manookian's Response to Trustee's Motion to Compel. Filed on the behalf of: Interes
02/07/2020           document(s)32). (anm) (Entered: 02/07/2020)

               42    Debtor's Response to Trustee's Motion and Notice to Compel Turnover of Records. Filed on
02/07/2020           MANOOKIAN, PLLC (RE: related document(s)32, 41). (LEFKOVITZ AND LEFKOVITZ

               43    Submitted Agreed Order Filed on the behalf of: Interested Parties Afsoon Hagh, Hagh Law
02/07/2020           (GABBERT, CRAIG) (Entered: 02/07/2020)

               44    Joint Motion to Continue Hearing On (Related Document(s): 32 Motion and Notice to Com
                     BURTON, 41 Response filed by Interested Party BRIAN MANOOKIAN, 42 Response file
02/12/2020           Filed on the behalf of: Trustee JEANNE ANN BURTON (RE: related document(s)32, 41, 4

               45    Submitted Agreed Order Continuing Hearing on Trustee's Motion to Compel Turnover of R
02/12/2020           ANN BURTON (RE: related document(s)44). (YOUNG, PHILLIP) (Entered: 02/12/2020)

               46    Agreed Order Mooting Trustee's Motion for Sanctions for Violation of the Automatic Stay
02/13/2020           Charles M. Walker (anm) (Entered: 02/13/2020)

               47    Agreed Order for Continuance of Hearing on Trustee's Motion to Compel Turnover of Reco
                     rescheduled for 3/3/2020 at 09:00 AM in Courtroom 2, 2nd Floor Customs House, 701
02/13/2020           2/13/2020. (anm) (Entered: 02/13/2020)

               48    BNC Certificate of Notice. (RE: related document(s)46 Order on Motion for Sanctions for V
02/15/2020           Notice Date 02/15/2020. (Admin.) (Entered: 02/15/2020)

02/15/2020     49    BNC Certificate of Notice. (RE: related document(s)47 Order to Continue Hearing) Notice

               50    Notice of Appearance and Request for Service pursuant to Rule 2002 Filed on the behalf of
02/27/2020           MEGAN) (Entered: 02/27/2020)

               51    Motion to Continue Hearing On (Related Document(s): 32 Motion and Notice to Compel −
                     BURTON) Filed on the behalf of: Trustee JEANNE ANN BURTON (RE: related documen
03/02/2020           03/02/2020)

               52    Submitted Order Continuing Hearing on Trustee's Motion to Compel Turnover of Records F
03/02/2020           BURTON (RE: related document(s)51). (YOUNG, PHILLIP) (Entered: 03/02/2020)

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                                                                                                       4
               53    Order Granting Continuance of Hearing on Trustee's Motion to Compel Turnover of Record
                     rescheduled for 3/24/2020 at 09:15 AM in Courtroom 2, 2nd Floor Customs House, 70
03/04/2020           3/4/2020. (anm) (Entered: 03/04/2020)

03/06/2020     54    BNC Certificate of Notice. (RE: related document(s)53 Order to Continue Hearing) Notice

03/10/2020     55    Submitted Agreed Order for turnover Filed on the behalf of: Trustee JEANNE ANN BURT

               56    Agreed Order Granting Turnover of Property. Re: Funds in the Amount of $23,637.22, Held
03/11/2020           3/11/2020. (anm) (Entered: 03/11/2020)

               57    Application and Notice to Employ Larry Williams, CPA as Accountant. If timely response
                     Courtroom 2, 2nd Floor Customs House, 701 Broadway, Nashville, TN 37203. Responses
03/13/2020           3/13/2020. Filed on the behalf of: Trustee JEANNE ANN BURTON. (BURTON, JEANNE

               58    BNC Certificate of Notice. (RE: related document(s)56 Order on Turnover of Property − BK
03/13/2020           (Entered: 03/14/2020)

               59    Motion to Continue Hearing On (Related Document(s): 32 Motion and Notice to Compel −
                     BURTON) Filed on the behalf of: Trustee JEANNE ANN BURTON (RE: related documen
03/17/2020           03/17/2020)

               60    Submitted Order Continuing Hearing on Trustee's Motion to Compel Turnover of Records F
03/17/2020           BURTON (RE: related document(s)59). (YOUNG, PHILLIP) (Entered: 03/17/2020)

               61    Order Granting Continuance of Hearing on Trustee's Motion to Compel Turnover of Record
                     rescheduled for 4/21/2020 at 01:00 PM in Courtroom 2, 2nd Floor Customs House, 70
03/18/2020           3/18/2020. (anm) (Entered: 03/18/2020)

03/20/2020     62    BNC Certificate of Notice. (RE: related document(s)61 Order to Continue Hearing) Notice

               63    Submitted Order to employ Accountant Filed on the behalf of: Trustee JEANNE ANN BUR
04/07/2020           JEANNE) (Entered: 04/07/2020)

               64    Submitted Order amended order to employ Accountant to show corrected effective date File
04/07/2020           BURTON (RE: related document(s)57, 63). (BURTON, JEANNE) (Entered: 04/07/2020)

               65    Clerk's Remark − The related document has the following defect(s): Order Not Processed..
                     document(s)63 Submitted Order to employ Accountant Filed on the behalf of: Trustee JEAN
04/10/2020           document(s)57).) (lel) (Entered: 04/10/2020)

               66    Amended Order Granting Trustee's Application to Employ Larry Williams, CPA, as Accoun
04/13/2020           COURT: Judge Charles M. Walker (anm) (Entered: 04/13/2020)

               67    Motion to Continue Hearing On (Related Document(s): 32 Motion and Notice to Compel −
                     BURTON) Filed on the behalf of: Trustee JEANNE ANN BURTON (RE: related documen
04/14/2020           04/14/2020)

               68    Submitted Order Granting Motion to Continue Hearing on Motion to Compel Filed on the b
04/14/2020           related document(s)67). (YOUNG, PHILLIP) (Entered: 04/14/2020)

               69    Order Granting Continuance of Hearing on Trustee's Motion to Compel Turnover of Record
                     number 888−363−4749 Access Code 7250422) pursuant to Judge Walker's CH7 & 11 Tues
                     located on the Court's website at:
                     http://www.tnmb.uscourts.gov/coronavirus−disease−covid−19−information−relating−cou
                     (RE: Related Doc#: 32, 67). Hearing has been rescheduled for 5/19/2020 at 10:15 AM in
04/15/2020           Broadway, Nashville, TN 37203. Signed on 4/15/2020. (anm) (Entered: 04/15/2020)
Case 3:23-cv-00961    Document 5       Filed 10/04/23      Page 8 of 126 PageID #: 26
                                                                                                     5
               70    BNC Certificate of Notice. (RE: related document(s)66 Application to Employ − BK Order
04/15/2020           04/16/2020)

04/17/2020     71    BNC Certificate of Notice. (RE: related document(s)69 Order to Continue Hearing) Notice

04/23/2020     72    Trustee's Interim Report period ending 3/31/2020.. (BURTON, JEANNE) (Entered: 04/23/2

               73    Motion and Notice for Compromise and Settlement TRUSTEES MOTION TO APPROVE F
                     AND CUMMINGS LAW LLC. If timely response hearing will be held on 5/26/2020 at 09:00
                     701 Broadway, Nashville, TN 37203. Responses due by 5/18/2020. (Attachments: # 1 App
04/27/2020           Trustee JEANNE ANN BURTON. (YOUNG, PHILLIP) (Entered: 04/27/2020)

               74    Motion to Continue Hearing On (Related Document(s): 32 Motion and Notice to Compel −
                     BURTON) Filed on the behalf of: Trustee JEANNE ANN BURTON (RE: related documen
05/15/2020           05/15/2020)

               75    Submitted Order Continuing Hearing on Trustee's Motion to Compel Turnover of Records F
05/15/2020           BURTON (RE: related document(s)74). (YOUNG, PHILLIP) (Entered: 05/15/2020)

               76    Order Granting Continuance of Hearing on Trustee's Motion to Compel Turnover of Record
                     rescheduled for 6/30/2020 at 10:15 AM in Courtroom 2, 2nd Floor Customs House, 70
05/18/2020           5/18/2020. (anm) (Entered: 05/18/2020)

               77    Objection to Trustee's Motion to Approve Fee and Expense Division Among Debtor and Cu
05/18/2020           Grant, Konvalinka & Harrison, P.C. (RE: related document(s)73). (CASH, HARRY) (Enter

               78    Clerk's Remark − The related document has the following defect(s): Document submitted u
                     Objection to Trustee's Motion to Approve Fee and Expense Division Among Debtor and Cu
05/19/2020           Grant, Konvalinka & Harrison, P.C. (RE: related document(s)73).) (lel) (Entered: 05/19/202

               79    Hearing Set − (Objection) Objection to Trustee's Motion to Approve Fee and Expense Divis
                     Hearing scheduled 5/26/2020 at 10:00 AM at Courtroom 2, 2nd Floor Customs House, 701
05/19/2020           document(s)77 Objection) (lel) (Entered: 05/19/2020)

05/20/2020     80    BNC Certificate of Notice. (RE: related document(s)76 Order to Continue Hearing) Notice

               81    Motion to Continue Hearing On (Related Document(s): 73 Motion and Notice for Comprom
                     JEANNE ANN BURTON, 77 Objection filed by Creditor Grant, Konvalinka & Harrison, P
05/22/2020           BURTON (RE: related document(s)73, 77). (YOUNG, PHILLIP) (Entered: 05/22/2020)

               82    Expedited Submitted Order Continuing Hearing on Trustee's Motion to Approve Expense D
05/22/2020           Filed on the behalf of: Trustee JEANNE ANN BURTON (RE: related document(s)81). (YO

               83    Expedited Order Granting Continuance of Hearing on Trustee's Motion to Approve Fee and
                     Law LLC. Hearing Scheduled via AT&T Teleconference (Phone Number: 888−363−4749;
                     81). Hearing has been rescheduled for 6/9/2020 at 10:00 AM in Courtroom 2, 2nd Floo
05/26/2020           37203. Signed on 5/26/2020. (anm) (Entered: 05/26/2020)

05/28/2020     84    BNC Certificate of Notice. (RE: related document(s)83 Order to Continue Hearing) Notice

               85    Submitted Order Approving Fee and Expense Division Among Debtor and Cummings Law
06/09/2020           BURTON (RE: related document(s)73). (YOUNG, PHILLIP) (Entered: 06/09/2020)

               86    Order Granting Trustee's Motion for Compromise and Settlement and Approving Fee and E
06/10/2020           Law LLC (RE: Ref Doc #73) ( Related Doc #77), BY THE COURT: Judge Charles M. Wal

06/12/2020     87
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                                                                                                      6
                     BNC Certificate of Notice. (RE: related document(s)86 Compromise/Settlement − BK Orde
                     06/12/2020)

                88   Motion to Continue Hearing On (Related Document(s): 32 Motion and Notice to Compel −
                     BURTON) Filed on the behalf of: Trustee JEANNE ANN BURTON (RE: related documen
 06/29/2020          06/29/2020)

                89   Expedited Submitted Order Granting Motion to Continue Hearing on Motion to Compel Fil
 06/29/2020          BURTON (RE: related document(s)88). (YOUNG, PHILLIP) (Entered: 06/29/2020)

                90   Order Granting Continuance of Hearing on Trustee's Motion to Compel Turnover of Record
                     Conference (Phone Number: 888−363−4749, Access Code 7250422#) (RE: Related Doc#:
                     8/18/2020 at 10:15 AM in Courtroom 2, 2nd Floor Customs House, 701 Broadway, Na
 06/29/2020          (Entered: 06/29/2020)

 07/01/2020     91   BNC Certificate of Notice. (RE: related document(s)90 Order to Continue Hearing) Notice

                92   Submitted Order Compelling Turnover of Documents Filed on the behalf of: Trustee JEANN
 08/18/2020          (YOUNG, PHILLIP) (Entered: 08/18/2020)

                93   Order Granting Trustee's Motion to Compel Turnover of Documents (RE: Ref Doc # 32), B
 08/19/2020          (Entered: 08/19/2020)

                94   BNC Certificate of Notice. (RE: related document(s)93 Order to Compel − BK Order) Noti
 08/21/2020          08/21/2020)

 03/15/2021     95   Receipt of Certification fees − $77.00 by KH. Receipt Number 626023. (admin) (Entered: 0

 03/15/2021     96   Receipt of Copy fees − $3.50 by KH. Receipt Number 626023. (admin) (Entered: 03/15/202

 04/28/2021     97   Trustee's Interim Report period ending 3/31/2021. (BURTON, JEANNE) (Entered: 04/28/2

                     98    Objection and Notice of: Objection to Claim 3 by Claimant North, Pursell
                           & Ramos, PLC, on behalf of Family Medical Associates, a/k/a Family
                           Medical, P.C. in the amount of $40,827.48. . Filed By: JEANNE ANN
                           BURTON on behalf of Jeanne Ann Burton PLLC. If timely response
                           hearing will be held on 6/25/2021 at 11:00 AM via AT&T Conference
                           Line using Call−In Number 1−888−363−4749 and Access Code
                           7250422#. Responses due by 6/17/2021. (BURTON, JEANNE) (Entered:
 05/18/2021                05/18/2021)

                     99    Objection and Notice of: Objection to Claim 4 by Claimant North, Pursell
                           & Ramos, PLC, on behalf of Toby Smith, M.D. and Middle TN
                           Pulmonary Assoc. in the amount of $54,220.02. . Filed By: JEANNE
                           ANN BURTON on behalf of Jeanne Ann Burton PLLC. If timely
                           response hearing will be held on 6/25/2021 at 11:00 AM via AT&T
                           Conference Line using Call−In Number 1−888−363−4749 and Access
                           Code 7250422#. Responses due by 6/17/2021. (BURTON, JEANNE)
 05/18/2021                (Entered: 05/18/2021)

                     100   Objection and Notice of: Objection to Claim 6 by Claimant Ronette Leal
                           McCarthy, Esq. in the amount of $0.00. . Filed By: JEANNE ANN
                           BURTON on behalf of Jeanne Ann Burton PLLC. If timely response
                           hearing will be held on 6/25/2021 at 11:00 AM via AT&T Conference
                           Line using Call−In Number 1−888−363−4749 and Access Code
                           7250422#. Responses due by 6/17/2021. (BURTON, JEANNE) (Entered:
 05/18/2021                05/18/2021)

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                                                                                                      7
                     101   Withdrawal of Claim(s): 1 Filed By: MICHAEL G ABELOW on behalf
 05/18/2021                of INSBANK. (ABELOW, MICHAEL) (Entered: 05/18/2021)

                     102   Response to Objection to (98 Objection and Notice of Objection for
                           Claim, 99 Objection and Notice of Objection for Claim) Certificate of
                           Service mailed on June 17, 2021. Hearing will be held on 6/25/2021 at
                           11:00 AM via AT&T Conference Line using Call−In Number
                           1−888−363−4749 and Access Code 7250422#. Filed on the behalf of:
                           Creditor Phillip Family Medical Associates (RE: related document(s)98,
 06/17/2021                99). (NORTH, PHILLIP) (Entered: 06/17/2021)

                     103   Motion to Continue Hearing On (Related Document(s): 98 Objection and
                           Notice of Objection for Claim filed by Attorney Jeanne Ann Burton
                           PLLC, 99 Objection and Notice of Objection for Claim filed by Attorney
                           Jeanne Ann Burton PLLC, 102 Objection (Hearing) filed by Creditor
                           Phillip Family Medical Associates) Certificate of Service mailed on
                           6/22/21. Filed on the behalf of: Trustee JEANNE ANN BURTON (RE:
                           related document(s)98, 99, 102). (YOUNG, PHILLIP) (Entered:
 06/22/2021                06/22/2021)

                     104   Expedited Submitted Order Continuing Hearing on Trustee's Objection to
                           Claims 3 and 4 Filed on the behalf of: Trustee JEANNE ANN BURTON
                           (RE: related document(s)103). (YOUNG, PHILLIP) (Entered:
 06/22/2021                06/22/2021)

                           Email Judge Charles M. Walker of Late Filed Matter. Filed on the behalf
                           of: Trustee JEANNE ANN BURTON (RE: related document(s)103, 104).
 06/22/2021                (YOUNG, PHILLIP) (Entered: 06/22/2021)

                     105   Order Granting Continuance of Hearing on Trustee's Objection to Claim
                           Numbers 3 and 4 (RE: Related Doc#: 98, 99, 102, 103). Hearing has
                           been rescheduled for 7/21/2021 at 11:00 AM Telephonically. The
                           call−in number is 1−888−363−4749; Access Code is 7250422# for
 06/22/2021                Judge Walker. Signed on 6/22/2021. (jmw) (Entered: 06/22/2021)

                     106   BNC Certificate of Notice. (RE: related document(s)105 Order to
                           Continue Hearing) Notice Date 06/24/2021. (Admin.) (Entered:
 06/24/2021                06/24/2021)

                     107   Notice of Extension of Time to Respond to Chapter 7 Trustee's Objection
                           to Claim Number 6 Filed by Ronette Leal McCarthy Filed on the behalf
                           of: Trustee JEANNE ANN BURTON (RE: related document(s)100).
 06/29/2021                (YOUNG, PHILLIP) (Entered: 06/29/2021)

                     108   Motion and Notice for Compromise and Settlement . If timely response
                           hearing will be held on 8/11/2021 at 11:00 AM via AT&T Conference
                           Line using Call−In Number 1−888−363−4749 and Access Code
                           7250422#. Responses due by 7/27/2021. (Attachments: # 1 Exhibit A # 2
                           Appendix Mailing Matrix) Certificate of Service mailed on 7/6/21. Filed
                           on the behalf of: Trustee JEANNE ANN BURTON. (YOUNG, PHILLIP)
 07/06/2021                (Entered: 07/06/2021)

                     109   Submitted Agreed Order Resolving Chapter 7 Trustee's Objection to
                           Claim Numbers 3 and 4 Filed on the behalf of: Trustee JEANNE ANN
                           BURTON (RE: related document(s)98, 99). (YOUNG, PHILLIP)
 07/19/2021                (Entered: 07/19/2021)

 07/20/2021          110   Submitted Agreed Order Resolving Chapter 7 Trustee's Objection to
                           Claim Number 6 Filed by Ronette Leal McCarthy, Esq. Filed on the
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                                                                                                     8
                           behalf of: Trustee JEANNE ANN BURTON (RE: related
                           document(s)100). (YOUNG, PHILLIP) (Entered: 07/20/2021)

                     111   Objection to Trustee's Motion to Approve Compromise and Settlement.
                           (Attachments: # 1 Exhibit 1) Filed on the behalf of: Creditor Grant,
                           Konvalinka & Harrison, P.C. (RE: related document(s)108).
 07/27/2021                (KONVALINKA, JOHN) (Entered: 07/27/2021)

                     112   Objection to (108 Motion and Notice for Compromise and Settlement −
                           BK Motion) Certificate of Service mailed on 7/6/2021. Hearing will be
                           held on 8/11/2021 at 11:00 AM. The call−in number is 1−888−363−4749;
                           Access Code is 7250422# for Judge Walker. (Attachments: # 1 Exhibit
                           COA Opinion − Chase # 2 Exhibit "Walk−Away" Offer Letter # 3 Exhibit
                           COA − Denial of Chase Petition for Rehearing) Filed on the behalf of:
                           Interested Party BRIAN MANOOKIAN (RE: related document(s)108).
 07/27/2021                (SPRAGENS, JOHN) (Entered: 07/27/2021)

                     113   Clerk's Remark − The related document has the following defect(s):
                           Document submitted under incorrect event.. − LBR 9013 Response
                           docketed without entering hearing information. (RE: related
                           document(s)111 Objection to Trustee's Motion to Approve Compromise
                           and Settlement. (Attachments: # 1 Exhibit 1) Filed on the behalf of:
                           Creditor Grant, Konvalinka & Harrison, P.C. (RE: related
 07/28/2021                document(s)108).) (lel) (Entered: 07/28/2021)

                     114   Hearing Set − (Objection) Objection to Trustee's Motion to Approve
                           Compromise and Settlement. Hearing scheduled 8/11/2021 at 11:00
                           AM. The call−in number is 1−888−363−4749; Access Code is
                           7250422# for Judge Walker. (RE: related document(s)111 Objection)
 07/28/2021                (lel) (Entered: 07/28/2021)

                     115   Agreed Order To Disallow Claim(s) as to North, Pursell & Ramos, PLC,
                           on Behalf of Family Medical Associates a/k/a Family Medical, P.C. and
                           Toby Smith, M.D. and Middle TN Pulmonary Associates and Resolving
                           Chapter 7 Trustee's Objection to Claim Numbers 3,4 (RE: Related Doc#:
 08/04/2021                98, 99, 102). Signed on 8/4/2021. (anm) (Entered: 08/04/2021)

                     116   Agreed Order Resolving Chapter 7 Trustee's Objection to Claim(s) 6
                           Filed by Ronette Leal McCarthy, Esq. (Ref Doc # 100) BY THE COURT:
 08/04/2021                Judge Charles M. Walker. (anm) (Entered: 08/04/2021)

                     117   Motion to Continue Hearing On (Related Document(s): 108 Motion and
                           Notice for Compromise and Settlement − BK Motion filed by Trustee
                           JEANNE ANN BURTON, 111 Objection filed by Creditor Grant,
                           Konvalinka & Harrison, P.C., 112 Objection (Hearing) filed by Interested
                           Party BRIAN MANOOKIAN) Filed on the behalf of: Trustee JEANNE
                           ANN BURTON (RE: related document(s)108, 111, 112). (YOUNG,
 08/05/2021                PHILLIP) (Entered: 08/05/2021)

                     118   Submitted Agreed Order Continuing Hearing on Motion to Approve
                           Compromise and Settlement Filed on the behalf of: Trustee JEANNE
                           ANN BURTON (RE: related document(s)117). (YOUNG, PHILLIP)
 08/05/2021                (Entered: 08/05/2021)

                     119   BNC Certificate of Notice. (RE: related document(s)115 Order To
                           Disallow Claim − BK Order (SA)) Notice Date 08/06/2021. (Admin.)
 08/06/2021                (Entered: 08/06/2021)

 08/06/2021          120
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                                                                                                      9
                           BNC Certificate of Notice. (RE: related document(s)116 Order on
                           Objection for Claim) Notice Date 08/06/2021. (Admin.) (Entered:
                           08/06/2021)

                     121   Agreed Order Granting Trustee's Motion for Continuance of Hearing on
                           Trustee's Motion to Approve Compromise and Settlement. (RE: Related
                           Doc#: 108, 111, 112, 117). Hearing has been rescheduled for 9/17/2021
                           at 11:00 AM; via Zoom video for Nashville; For details please see
                           www.tnmb.uscourts.gov. Signed on 8/9/2021. (anm) (Entered:
 08/09/2021                08/09/2021)

                     122   BNC Certificate of Notice. (RE: related document(s)121 Order to
                           Continue Hearing) Notice Date 08/11/2021. (Admin.) (Entered:
 08/11/2021                08/11/2021)

                     123   Notice of Filing Supplement to Manookian Objection to Proposed Chase
                           Claim and Settlement (Attachments: # 1 Exhibit Tennessee Supreme
                           Court Order Denying Permission to Appeal # 2 Exhibit Chase Motion to
                           Stay # 3 Exhibit Manookian Motion for Partial Summary Judgment) Filed
                           on the behalf of: Interested Party BRIAN MANOOKIAN (RE: related
 09/10/2021                document(s)108, 112). (SPRAGENS, JOHN) (Entered: 09/10/2021)

                     124   Trustee's Response to Objection of Grant, Konvalinka & Harrison, PC to
                           Trustee's Motion to Approve Compromise and Settlement. (Attachments: #
                           1 Exhibit A # 2 Exhibit B) Filed on the behalf of: Trustee JEANNE ANN
                           BURTON (RE: related document(s)111). (YOUNG, PHILLIP) (Entered:
 09/14/2021                09/14/2021)

                     125   Trustee's Response to Brian Manookian's Objection to Proposed Chase
                           Claim and Settlement. (Attachments: # 1 Exhibit A # 2 Exhibit B # 3
                           Exhibit C) Filed on the behalf of: Trustee JEANNE ANN BURTON (RE:
                           related document(s)112, 123). (YOUNG, PHILLIP) (Entered:
 09/14/2021                09/14/2021)

                           Email Judge Charles M. Walker of Late Filed Matter. Filed on the behalf
                           of: Trustee JEANNE ANN BURTON (RE: related document(s)124, 125).
 09/14/2021                (YOUNG, PHILLIP) (Entered: 09/14/2021)

                     126   Trustee's Exhibit and Witness List for September 17, 2021 Hearing on
                           Trustee's Motion to Approve Compromise and Settlement Filed on the
                           behalf of: Trustee JEANNE ANN BURTON (RE: related
                           document(s)108, 111, 112, 114 , 121, 123, 124, 125). (YOUNG,
 09/15/2021                PHILLIP) (Entered: 09/15/2021)

                     127   Exhibit and Witness List for September 17, 2021 Hearing on Trustee's
                           Motion to Approve Compromise and Settlement Filed on the behalf of:
                           Interested Party BRIAN MANOOKIAN (RE: related document(s)108,
 09/15/2021                112, 123, 125). (SPRAGENS, JOHN) (Entered: 09/15/2021)

                     128   Order Continuing Hearing Re: (related document(s): 121 Order to
                           Continue Hearing) Hearing has been rescheduled for 09/29/2021 at
                           01:00 PM; via Zoom video for Nashville; For details please see
 09/17/2021                www.tnmb.uscourts.gov. (lel) (Entered: 09/17/2021)

                     129   Submitted Agreed Order Regarding Hearing on Trustee's Motion to
                           Approve Compromise and Settlement Filed on the behalf of: Trustee
 09/22/2021                JEANNE ANN BURTON. (YOUNG, PHILLIP) (Entered: 09/22/2021)


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                                                                                                     10
                     130   Order Granting Continuance of Hearing on Trustee's Motion to Approve
                           Compromise and Settlement (RE: Related Doc#: 128 ). Hearing has been
                           rescheduled for 9/29/2021 at 01:00 PM; via Zoom video for Nashville;
                           For details please see www.tnmb.uscourts.gov. Signed on 9/22/2021.
 09/22/2021                (kmw) (Entered: 09/22/2021)

                     131   Trustee's Motion for Approval of Participation fo Phillip Young at
                           September 29, 2021 Hearing. Filed on the behalf of: Trustee JEANNE
 09/23/2021                ANN BURTON. (YOUNG, PHILLIP) (Entered: 09/23/2021)

                     132   Expedited Submitted Order Approving Participation of Phillip Young at
                           September 29, 2021 Hearing Filed on the behalf of: Trustee JEANNE
                           ANN BURTON (RE: related document(s)131). (YOUNG, PHILLIP)
 09/23/2021                (Entered: 09/23/2021)

                           Email Judge Charles M. Walker of Late Filed Matter. Filed on the behalf
                           of: Trustee JEANNE ANN BURTON (RE: related document(s)131).
 09/23/2021                (YOUNG, PHILLIP) (Entered: 09/23/2021)

                     133   Hearing Set − (Response) Trustee's Response to Objection of Grant,
                           Konvalinka & Harrison, PC to Trustee's Motion to Approve Compromise
                           and Settlement. Hearing scheduled 9/29/2021 at 01:00 PM; via Zoom
                           video for Nashville; For details please see www.tnmb.uscourts.gov.
 09/24/2021                (RE: related document(s)124 Response) (lel) (Entered: 09/24/2021)

                     134   Hearing Set − (Response) Trustee's Response to Brian Manookian's
                           Objection to Proposed Chase Claim and Settlement. Hearing scheduled
                           9/29/2021 at 01:00 PM; via Zoom video for Nashville; For details
                           please see www.tnmb.uscourts.gov. (RE: related document(s)125
 09/24/2021                Response) (lel) (Entered: 09/24/2021)

                     135   Order Setting Forth Procedures for Hearing on the Trustee's Motion for
                           Compromise and Settlement. (RE: Related Doc#: 108, 111, 112, 123, 124,
 09/24/2021                125). Signed on 9/24/2021. (anm) (Entered: 09/24/2021)

                     136   Trustee's Motion for To Strike Brian Manookian's Objection and to
                           Preclude His Participation in the September 29, 2021 Hearing for Lack of
                           Standing. Filed on the behalf of: Trustee JEANNE ANN BURTON (RE:
                           related document(s)112, 123). (YOUNG, PHILLIP) (Entered:
 09/24/2021                09/24/2021)

                           Email Judge Charles M. Walker of Late Filed Matter. Filed on the behalf
                           of: Trustee JEANNE ANN BURTON (RE: related document(s)136).
 09/24/2021                (YOUNG, PHILLIP) (Entered: 09/24/2021)

                     137   Trustee's Exhibit and Witness List for September 29, 2021 Hearing on
                           Trustee's Motion to Approve Compromise and Settlement Filed on the
                           behalf of: Trustee JEANNE ANN BURTON. (YOUNG, PHILLIP)
 09/24/2021                (Entered: 09/24/2021)

                     138   Notice of Hearing on Motion − BK Motion. Trustee's Motion for To Strike
                           Brian Manookian's Objection and to Preclude His Participation in the
                           September 29, 2021 Hearing for Lack of Standing. Hearing scheduled
                           9/29/2021 at 01:00 PM; via Zoom video for Nashville; For details
                           please see www.tnmb.uscourts.gov. (RE: related document(s)136) (lel)
 09/24/2021                (Entered: 09/24/2021)

 09/24/2021          139

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                                                                                                      11
                           Exhibit and Witness List for September 29, 2021 Hearing on Trustee's
                           Motion to Approve Compromise and Settlement Filed on the behalf of:
                           Interested Party BRIAN MANOOKIAN (RE: related document(s) 128 ,
                           130, 135). (SPRAGENS, JOHN) (Entered: 09/24/2021)

                     140   BNC Certificate of Notice. (RE: related document(s)130 Order to
                           Continue Hearing) Notice Date 09/24/2021. (Admin.) (Entered:
 09/24/2021                09/24/2021)

                     141   BNC Certificate of Notice. (RE: related document(s)138 Notice of
 09/26/2021                Hearing) Notice Date 09/26/2021. (Admin.) (Entered: 09/26/2021)

                     142   BNC Certificate of Notice. (RE: related document(s)135 Order) Notice
 09/26/2021                Date 09/26/2021. (Admin.) (Entered: 09/26/2021)

                     143   Exhibit and Witness List for September 29, 2021 Hearing Filed on the
                           behalf of: Creditor Grant, Konvalinka & Harrison, P.C. (RE: related
 09/27/2021                document(s)135). (KONVALINKA, JOHN) (Entered: 09/27/2021)

                     144   Response to Trustee's Motion to Strike Brian Manookian's Objection and
                           to Preclude His Participation in the September 29, 2021 Hearing for Lack
                           of Standing. Filed on the behalf of: Interested Party BRIAN
                           MANOOKIAN (RE: related document(s)136). (SPRAGENS, JOHN)
 09/27/2021                (Entered: 09/27/2021)

                     145   Witness and Exhibit List from trial or Hearing Hearing Held 9/29/2021
                           (RE: related document(s)136 Motion − BK Motion, 138 Notice of
 09/30/2021                Hearing) (lel) (Entered: 09/30/2021)

                     146   Submitted Order Granting Motion to Approve Compromise and
                           Settlement and Finding that Brian Manookian Lacks Standing Filed on
                           the behalf of: Trustee JEANNE ANN BURTON (RE: related
 10/01/2021                document(s)108, 136). (YOUNG, PHILLIP) (Entered: 10/01/2021)

                     147   Order Granting Trustee's Motion for Compromise and Settlement and
                           Finding that Brian Manookian Lacks Standing. (RE: Ref Doc #108) (
                           Related Doc #111, 112, 123, 124, 125, 136, 144), BY THE COURT:
 10/01/2021                Judge Charles M. Walker. (anm) (Entered: 10/01/2021)

                     148   BNC Certificate of Notice. (RE: related document(s)147
                           Compromise/Settlement − BK Order) Notice Date 10/03/2021. (Admin.)
 10/03/2021                (Entered: 10/03/2021)

                     149   Notice of Appeal and Statement of Election to District Court. Fee Amount
                           is $298.00. Appellant Designation due by 10/28/2021. Filed on the behalf
                           of: Interested Party BRIAN MANOOKIAN (RE: related
 10/14/2021                document(s)147). (SPRAGENS, JOHN) (Entered: 10/14/2021)

                     150   Receipt of Notice or Amended Notice of Appeal and Statement of
                           Election(3:19−bk−07235) [appeal,ntcapl] ( 298.00). Receipt number
                           17240536. Fee amount $ 298.00. (re:Doc# 149) (U.S. Treasury) (Entered:
 10/14/2021                10/14/2021)

                     151   Certificate of Service mailed on 10/19/2021 on Notice of Appeal and
                           Statement of Election (RE: related document(s)149). (jjk) (Entered:
 10/19/2021                10/19/2021)

 10/19/2021          152
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                                                                                                      12
                           Transmittal of Notice of Appeal and Documents Related to Appeal (Rules
                           8003(d), 8005(b)) to District Court. (RE: related document(s)149). (jjk)
                           (Entered: 10/19/2021)

                     153   Acknowledgement of Receipt of Appeal from District Court. Case info:
 10/20/2021                District Court Case No. 3:21−cv−00797. (jjk) (Entered: 10/20/2021)

                     154   Request for Transcript. Fee Amount is $32.00. Filed on the behalf of:
                           Debtor CUMMINGS MANOOKIAN, PLLC (SPRAGENS, JOHN)
 10/21/2021                (Entered: 10/21/2021)

                     155   Receipt of Request for Transcript(3:19−bk−07235) [misc,tsreq] ( 32.00).
                           Receipt number 17252118. Fee amount $ 32.00. (re:Doc# 154) (U.S.
 10/21/2021                Treasury) (Entered: 10/21/2021)

                     157   Transcript regarding Hearing Held 09/29/21. Remote electronic access to
                           the transcript is restricted until 01/24/2022. The transcript may be viewed
                           at the Bankruptcy Court Clerk's Office. Contact the Court
                           Reporter/Transcriber Access Transcripts, telephone number
                           855−873−2223. Deadline to file Notice of Intent to Request Redaction is
                           11/1/2021. Deadline to file Request for Redaction is 11/15/2021.
                           Redacted transcript due by 11/29/2021.. (WATSON, ILENE) (Entered:
 10/25/2021                10/25/2021)

                     158   Statement of Issues on Appeal, (Attachments: # 1 Exhibit 9/29/2021
                           Hearing Transcript) Filed on the behalf of: Interested Party BRIAN
                           MANOOKIAN (RE: related document(s)149, 152 ). (SPRAGENS,
 10/28/2021                JOHN) (Entered: 10/28/2021)

                     159   Appellee's Designation of Contents for Inclusion in Record of Appeal
                           Filed on the behalf of: Trustee JEANNE ANN BURTON. (YOUNG,
 11/05/2021                PHILLIP) (Entered: 11/05/2021)

                     160   Certified Record on Appeal Transmitted to District Court. District Court
 12/10/2021                Case #21−cv−00797. (lel) (Entered: 12/10/2021)

                     161   Motion and Notice to Compel Discovery Responses from Manookian,
                           PLLC (Attachments: # 1 Exhibit 1 # 2 Exhibit 2 # 3 Exhibit 3 # 4 Exhibit
                           4)Certificate of Service mailed on 12/20/21. Filed on the behalf of:
                           Trustee JEANNE ANN BURTON. (YOUNG, PHILLIP) (Entered:
 12/20/2021                12/20/2021)

                     162   Motion and Notice to Compel Discovery Responses from Hagh Law,
                           PLLC (Attachments: # 1 Exhibit 1 # 2 Exhibit 2 # 3 Exhibit 3 # 4 Exhibit
                           4)Certificate of Service mailed on 12/20/21. Filed on the behalf of:
                           Trustee JEANNE ANN BURTON. (YOUNG, PHILLIP) (Entered:
 12/20/2021                12/20/2021)

                     163   Motion and Notice to Compel Discovery Responses from Afsoon Hagh
                           (Attachments: # 1 Exhibit 1 # 2 Exhibit 2 # 3 Exhibit 3)Certificate of
                           Service mailed on 12/20/21. Filed on the behalf of: Trustee JEANNE
 12/20/2021                ANN BURTON. (YOUNG, PHILLIP) (Entered: 12/20/2021)

 12/21/2021          164   Remark − Notification to the Filer re: Motions and Notices to Compel
                           Discovery Responses from Manookian, PLLC, Hagh Law, PLLC and
                           Afsoon Hagh. The Motions and Notice to Compel Discovery Responses
                           are filed in the bankruptcy case as opposed to the associated adversary
                           proceeding (AP #3:20−90002). The Clerk will take no action on behalf of

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                                                                                                         13
                           the Filer to correct the filings in the main case. See, ECF Procedure 5,
                           Consequences of Electronic Filing. (RE: related document(s)161 Motion
                           and Notice to Compel − AP Motion, 162 Motion and Notice to Compel −
                           AP Motion, 163 Motion and Notice to Compel − AP Motion) (rmw)
                           (Entered: 12/21/2021)

                     165   Notice of Appearance and Request for Service pursuant to Rule 2002.
                           Filed on the behalf of: Creditor TN Dept of Revenue. (MCCORMICK,
 04/22/2022                WILLIAM) (Entered: 04/22/2022)

                     166   Trustee's Interim Report period ending 3/31/2022. (BURTON, JEANNE)
 04/27/2022                (Entered: 04/27/2022)

                     167   Adversary case 3:23−ap−90036. Complaint by BRIAN CUMMINGS
                           against BRETTON KEEFER, JEANNE BURTON, AFSOON HAGH.
                           Fee Amount is $350.00. Filed By Trustee, Fees will be deferred. BRIAN
                           CUMMINGS. (Attachments: # 1 State Court Documents # 2 Docket)
                           Nature of Suit: (02 (Other (e.g. other actions that would have been
                           brought in state court if unrelated to bankruptcy))) (knh) (Entered:
 03/13/2023                03/13/2023)

                     168   United States District Court Order Referring Civil Case No.
                           3:22−cv−00301 to Bankruptcy Judge Charles M. Walker . (tca) (Entered:
 03/15/2023                03/15/2023)

                     169   Order Scheduling Hearing − Evidentiary Hearing. (RE: Related Doc#:
                           108, 112, 123, 125, 136, 144, 147). Hearing scheduled 5/25/2023 at
                           09:00 AM, Courtroom 2 (Virtual hearing if allowed; see website for
                           details); 701 Broadway, Nashville, TN 37203. Signed on 4/7/2023.
 04/07/2023                (anm) (Entered: 04/07/2023)

                     170   BNC Certificate of Notice. (RE: related document(s)169 Order
                           Scheduling Hearing) Notice Date 04/09/2023. (Admin.) (Entered:
 04/09/2023                04/09/2023)

                     171   Motion to Continue Hearing On (Related Document(s): 169 Order
                           Scheduling Hearing) Filed on the behalf of: Trustee JEANNE ANN
                           BURTON (RE: related document(s)169). (YOUNG, PHILLIP) (Entered:
 04/11/2023                04/11/2023)

                     172   Trustee's Interim Report period ending 3/31/2023. (BURTON, JEANNE)
 04/21/2023                (Entered: 04/21/2023)

                     173   Order Scheduling Hearing − Evidentiary Hearing. (RE: Related Doc#:
                           108, 112, 123, 125, 136, 144, 147, 169, 171). Hearing scheduled
                           6/28/2023 at 01:00 PM, Courtroom 2 (Virtual hearing if allowed; see
                           website for details); 701 Broadway, Nashville, TN 37203. − All parties
                           and/or counsel must appear in person. Signed on 4/27/2023. (rmw)
 04/27/2023                (Entered: 04/27/2023)

                     174   BNC Certificate of Notice. (RE: related document(s)173 Order
                           Scheduling Hearing) Notice Date 04/29/2023. (Admin.) (Entered:
 04/29/2023                04/29/2023)

                     175   Second Motion to Continue Hearing On (Related Document(s): 173 Order
                           Scheduling Hearing) Filed on the behalf of: Trustee JEANNE ANN
                           BURTON (RE: related document(s)173). (YOUNG, PHILLIP) (Entered:
 05/01/2023                05/01/2023)

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                                                                                                      14
                     176   Order Scheduling Hearing − Setting Scheduling Conference. (RE: Related
                           Doc#: 108, 112, 136, 144, 147). Hearing scheduled 5/10/2023 at 11:00
                           AM, Courtroom 2 (Virtual hearing if allowed; see website for details);
                           701 Broadway, Nashville, TN 37203. Signed on 5/3/2023. (anm)
 05/03/2023                (Entered: 05/03/2023)

                     177   BNC Certificate of Notice. (RE: related document(s)176 Order
                           Scheduling Hearing) Notice Date 05/05/2023. (Admin.) (Entered:
 05/05/2023                05/05/2023)

                     178   Order Scheduling Hearing − Evidentiary. All Parties and/or Counsel
                           Must Appear in Person. (RE: Related Doc#: 108, 112, 136, 144, 147).
                           Hearing scheduled 8/30/2023 at 11:00 AM, Courtroom 2 (Virtual
                           hearing if allowed; see website for details); 701 Broadway, Nashville,
 05/10/2023                TN 37203. Signed on 5/10/2023. (rww) (Entered: 05/10/2023)

                     179   BNC Certificate of Notice. (RE: related document(s)178 Order
                           Scheduling Hearing) Notice Date 05/12/2023. (Admin.) (Entered:
 05/12/2023                05/12/2023)

                     180   Brian Manookian and Manookian PLLC's Notice of Objections to Claim
                           Settlement and Failure to Recuse. Filed on the behalf of: Interested Party
                           BRIAN MANOOKIAN (RE: related document(s)178). (SPRAGENS,
 07/19/2023                JOHN) (Entered: 07/19/2023)

                     181   Trustee's Response to Brian Manookian's Renewed Objection to Proposed
                           Settlement with the Chase Parties. Filed on the behalf of: Trustee
                           JEANNE ANN BURTON (RE: related document(s)180). (YOUNG,
 08/01/2023                PHILLIP) (Entered: 08/01/2023)

                     182   Notice of Hearing on Notice − BK Notice, Response.Brian Manookian
                           and Manookian PLLC's Notice of Objections to Claim Settlement and
                           Failure to Recuse. Filed on the behalf of: Interested Party BRIAN
                           MANOOKIAN and Trustee's Response to Brian Manookian's Renewed
                           Objection to Proposed Settlement with the Chase Parties. Filed on the
                           behalf of: Trustee JEANNE ANN BURTON Hearing scheduled 8/30/2023
                           at 11:00 AM, Courtroom 2 (Virtual hearing if allowed; see website for
                           details); 701 Broadway, Nashville, TN 37203. (RE: related
 08/02/2023                document(s)180, 181) (leq) (Entered: 08/02/2023)

                     183   BNC Certificate of Notice. (RE: related document(s)182 Notice of
 08/04/2023                Hearing) Notice Date 08/04/2023. (Admin.) (Entered: 08/04/2023)

                     184   Exhibit and Witness List. Filed on the behalf of: Interested Party BRIAN
 08/16/2023                MANOOKIAN. (SPRAGENS, JOHN) (Entered: 08/16/2023)

                     185   Notice of Filing Order of Dismissal in State Action. Filed on the behalf of:
                           Interested Party BRIAN MANOOKIAN. (SPRAGENS, JOHN) (Entered:
 08/16/2023                08/16/2023)

                     186   Trustee's Exhibit and Witness Listfor August 30, 2023 Hearing. Filed on
                           the behalf of: Trustee JEANNE ANN BURTON. (YOUNG, PHILLIP)
 08/16/2023                (Entered: 08/16/2023)

                     187   Motion to Recuse Judge Motion to Disqualify Judge Charles M. Walker.
                           Filed on the behalf of: Interested Party BRIAN MANOOKIAN.
 08/23/2023                (SPRAGENS, JOHN) (Entered: 08/23/2023)


Case 3:23-cv-00961   Document 5        Filed 10/04/23       Page 18 of 126 PageID #: 36
                                                                                                          15
                     188   Trustee's Response to Motion to Disqualify Bankruptcy Judge Charles
                           Walker. Filed on the behalf of: Trustee JEANNE ANN BURTON (RE:
 08/24/2023                related document(s)187). (YOUNG, PHILLIP) (Entered: 08/24/2023)

                     189   Order Denying Motion to Disqualify Judge Charles Walker. (RE: Related
 08/28/2023                Doc#: 187, 188). Signed on 8/28/2023. (leq) (Entered: 08/28/2023)

                     190   Notice of Appeal and Statement of Election to District Court. Fee Amount
                           is $298.00. Appellant Designation due by 09/11/2023. Filed on the behalf
                           of: Interested Party BRIAN MANOOKIAN (RE: related
 08/28/2023                document(s)189). (SPRAGENS, JOHN) (Entered: 08/28/2023)

                     191   Receipt of Notice or Amended Notice of Appeal and Statement of
                           Election( 3:19−bk−07235) [appeal,ntcapl] ( 298.00). Receipt number
                           AXXXXXXXX. Fee amount $ 298.00. (re:Doc# 190) (U.S. Treasury)
 08/28/2023                (Entered: 08/28/2023)

                     192   Certificate of Service mailed on August 29, 2023 on Notice of Appeal and
                           Statement of Election (RE: related document(s)190). (leq) (Entered:
 08/29/2023                08/29/2023)

                     193   Transmittal of Notice of Appeal and Documents Related to Appeal (Rules
                           8003(d), 8005(b)) to District Court. (RE: related document(s)190). (leq)
 08/29/2023                (Entered: 08/29/2023)

                     194   Acknowledgement of Receipt of Appeal from District Court. Case info:
 08/29/2023                3:23−cv−00918. . (leq) (Entered: 08/29/2023)

                     195   BNC Certificate of Notice. (RE: related document(s)189 Denying − SA
 08/30/2023                Order) Notice Date 08/30/2023. (Admin.) (Entered: 08/30/2023)

                     196   Appellee's Designation of Contents for Inclusion in Record of Appeal.
                           Certificate of Service Mailed on 9/12/23. Filed on the behalf of: Trustee
 09/12/2023                JEANNE ANN BURTON. (YOUNG, PHILLIP) (Entered: 09/12/2023)

                     197   Appellant's Designation of Contents For Inclusion in Record On Appeal.
                           Appellee designation due by 9/26/2023. Filed on the behalf of: Interested
                           Party BRIAN MANOOKIAN (RE: related document(s)190). (leq)
 09/12/2023                (Entered: 09/12/2023)

                     198   Remark The Clerk is in receipt of a Notice by Brian Manookian of Filing
                           Statement of Issues and Designation of Record on Appeal filed in the U.S.
                           District Court Middle District of Tennessee, September 11, 2023, in civil
                           case # 3:23−cv−00918. The Bankruptcy Court Clerk has docketed the
                           referenced document on the record at docket entry #197. (RE: related
 09/12/2023                document(s)197 Appellant Designation) (leq) (Entered: 09/12/2023)

                     199   Certified Record on Appeal Transmitted to District Court. 23−cv−00918 .
 09/14/2023                (leq) (Entered: 09/14/2023)




Case 3:23-cv-00961   Document 5        Filed 10/04/23       Page 19 of 126 PageID #: 37
                                                                                                       16
Fill in this information to identify your case:

United States Bankruptcy Court for the:

MIDDLE DISTRICT OF TENNESSEE

Case number (if known)                                                      Chapter      7
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                          4/19
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and case number (if known).
For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                CUMMINGS MANOOKIAN, PLLC

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                    Mailing address, if different from principal place of
                                                                                                 business

                                  45 MUSIC SQUARE WEST
                                  NASHVILLE, TN 37203
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Davidson                                                       Location of principal assets, if different from principal
                                  County                                                         place of business

                                                                                                 Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




                Case 3:23-cv-00961                 Document 5              Filed 10/04/23            Page 20 of 126 PageID #: 38
Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 1
                                                                                                                                                             17
Debtor    CUMMINGS MANOOKIAN, PLLC                                                                    Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                           Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                           Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                           Railroad (as defined in 11 U.S.C. § 101(44))
                                           Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                           Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                           Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                           None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                           Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                           Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.



8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
                                           Chapter 7
     debtor filing?
                                           Chapter 9
                                           Chapter 11. Check all that apply:
                                                                 Debtor's aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                                 are less than $2,725,625 (amount subject to adjustment on 4/01/22 and every 3 years after that).
                                                                 The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a small
                                                                 business debtor, attach the most recent balance sheet, statement of operations, cash-flow
                                                                 statement, and federal income tax return or if all of these documents do not exist, follow the
                                                                 procedure in 11 U.S.C. § 1116(1)(B).
                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                           Chapter 12



9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                              District                                 When                                 Case number
                                                 District                                 When                                 Case number


10. Are any bankruptcy cases              No
    pending or being filed by a
    business partner or an                Yes.
    affiliate of the debtor?
     List all cases. If more than 1,
     attach a separate list                      Debtor                                                                    Relationship
                                                 District                                 When                             Case number, if known




                 Case 3:23-cv-00961                    Document 5              Filed 10/04/23                Page 21 of 126 PageID #: 39
Official Form 201                              Voluntary Petition for Non-Individuals Filing for Bankruptcy                                               page 2
                                                                                                                                                                18
Debtor   CUMMINGS MANOOKIAN, PLLC                                                                  Case number (if known)
         Name




11. Why is the case filed in    Check all that apply:
    this district?
                                         Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                         preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                         A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or          No
    have possession of any
    real property or personal       Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    property that needs
    immediate attention?                    Why does the property need immediate attention? (Check all that apply.)
                                                It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                               What is the hazard?
                                                It needs to be physically secured or protected from the weather.
                                                 It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                               livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                Other
                                            Where is the property?
                                                                              Number, Street, City, State & ZIP Code
                                            Is the property insured?
                                                No
                                                Yes. Insurance agency
                                                        Contact name
                                                        Phone



         Statistical and administrative information

13. Debtor's estimation of      .         Check one:
    available funds
                                             Funds will be available for distribution to unsecured creditors.
                                             After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of             1-49                                              1,000-5,000                                25,001-50,000
    creditors                       50-99                                             5001-10,000                                50,001-100,000
                                    100-199                                           10,001-25,000                              More than100,000
                                    200-999

15. Estimated Assets                $0 - $50,000                                      $1,000,001 - $10 million                   $500,000,001 - $1 billion
                                    $50,001 - $100,000                                $10,000,001 - $50 million                  $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                               $50,000,001 - $100 million                 $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                             $100,000,001 - $500 million                More than $50 billion

16. Estimated liabilities           $0 - $50,000                                      $1,000,001 - $10 million                   $500,000,001 - $1 billion
                                    $50,001 - $100,000                                $10,000,001 - $50 million                  $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                               $50,000,001 - $100 million                 $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                             $100,000,001 - $500 million                More than $50 billion




                Case 3:23-cv-00961                   Document 5             Filed 10/04/23              Page 22 of 126 PageID #: 40
Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 3
                                                                                                                                                                   19
Debtor    CUMMINGS MANOOKIAN, PLLC                                                                 Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      November 6, 2019
                                                  MM / DD / YYYY


                             X /s/ BRIAN MANOOKIAN                                                        BRIAN MANOOKIAN
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   CHIEF MANAGER




18. Signature of attorney    X /s/ Steven L. Lefkovitz                                                     Date November 6, 2019
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Steven L. Lefkovitz 5953
                                 Printed name

                                 LEFKOVITZ & LEFKOVITZ
                                 Firm name

                                 618 CHURCH ST., #410
                                 NASHVILLE, TN 37219
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     615-256-8300                  Email address      slefkovitz@lefkovitz.com

                                 5953 TN
                                 Bar number and State




                 Case 3:23-cv-00961                Document 5              Filed 10/04/23                Page 23 of 126 PageID #: 41
Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 4
                                                                                                                                                                20
 Fill in this information to identify the case:

 Debtor name         CUMMINGS MANOOKIAN, PLLC

 United States Bankruptcy Court for the:            MIDDLE DISTRICT OF TENNESSEE

 Case number (if known)
                                                                                                                                                    Check if this is an
                                                                                                                                                       amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                       12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:      List All Creditors with PRIORITY Unsecured Claims

       1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

           No. Go to Part 2.
           Yes. Go to line 2.

 Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
       3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
          out and attach the Additional Page of Part 2.
                                                                                                                                                       Amount of claim

 3.1       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                 $760,000.00
           DEAN CHASE ET AL                                                   Contingent
           C/O PURYEAR LAW
           104 WOODMONT BLVD, SUITE 201
                                                                              Unliquidated
           Nashville, TN 37205                                                Disputed
           Date(s) debt was incurred                                         Basis for the claim:
           Last 4 digits of account number                                   Is the claim subject to offset?    No  Yes

 Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

   If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

           Name and mailing address                                                                  On which line in Part1 or Part 2 is the              Last 4 digits of
                                                                                                     related creditor (if any) listed?                    account number, if
                                                                                                                                                          any
 4.1       D.F. CHASE, INC.
           C/O PURYEAR LAW                                                                           Line      3.1
           104 WOODMONT BLVD, SUITE 201
           Nashville, TN 37205                                                                             Not listed. Explain


 4.2       SANDRA CHASE
           C/O PURYEAR LAW                                                                           Line      3.1
           104 WOODMONT BLVD, SUITE 201
           Nashville, TN 37205                                                                             Not listed. Explain



 Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                          Total of claim amounts
 5a. Total claims from Part 1                                                                            5a.          $                           0.00
 5b. Total claims from Part 2                                                                            5b.    +     $                     760,000.00

 5c. Total of Parts 1 and 2
     Lines 5a + 5b = 5c.                                                                                 5c.          $                        760,000.00


Official Form 206E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                         page 1 of 2
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                                                                                                                                                                                  21
 Debtor       CUMMINGS MANOOKIAN, PLLC                                                            Case number (if known)
              Name




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                          Page 2 of 2
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               Case 3:23-cv-00961                         Document 5             Filed 10/04/23           Page 25 of 126 PageID #: 43
                                                                                                                                                     22
B2030 (Form 2030) (12/15)
                                                               United States Bankruptcy Court
                                                                     Middle District of Tennessee
 In re       CUMMINGS MANOOKIAN, PLLC                                                                         Case No.
                                                                                 Debtor(s)                    Chapter       7

                          DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.     Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
       compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
       be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
             For legal services, I have agreed to accept                                                  $                     3,000.00
             Prior to the filing of this statement I have received                                        $                     3,000.00
             Balance Due                                                                                  $                         0.00

2.     The source of the compensation paid to me was:

              Debtor               Other (specify):

3.     The source of compensation to be paid to me is:

              Debtor               Other (specify):

4.        I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.
          I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
            copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

5.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

       a. Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
       b. Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
       c. Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
       d. [Other provisions as needed]
               Exemption planning; preparation and filing of motions pursuant to 11 USC 522(f)(2)(A) for avoidance of liens on
               household goods

6.     By agreement with the debtor(s), the above-disclosed fee does not include the following service:
               Representation of the debtors in any dischargeability actions, attendance at 2004 examination or deposition,
               judicial lien avoidances, preparation and filing of reaffirmation agreements and applications as needed, relief
               from stay actions, motions to redeem property, representation in any loan modification process, substitution of
               collateral, filing motions to aprove professionals, motions to approve sale of property, motions to authorize
               retention of special counsel, representation in any other Court or legal matter, conversion to another chapter of
               bankruptcy, or any other adversary proceeding.
                                                                          CERTIFICATION
       I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
 this bankruptcy proceeding.

     November 6, 2019                                                            /s/ Steven L. Lefkovitz
     Date                                                                        Steven L. Lefkovitz 5953
                                                                                 Signature of Attorney
                                                                                 LEFKOVITZ & LEFKOVITZ
                                                                                 618 CHURCH ST., #410
                                                                                 NASHVILLE, TN 37219
                                                                                 615-256-8300 Fax: 615-255-4516
                                                                                 slefkovitz@lefkovitz.com
                                                                                 Name of law firm




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               Case 3:23-cv-00961                         Document 5          Filed 10/04/23        Page 26 of 126 PageID #: 44
                                                                                                                                                              23
                                                               United States Bankruptcy Court
                                                                     Middle District of Tennessee
 In re      CUMMINGS MANOOKIAN, PLLC                                                                     Case No.
                                                                                  Debtor(s)              Chapter    7




                                               VERIFICATION OF CREDITOR MATRIX


I, the CHIEF MANAGER of the corporation named as the debtor in this case, hereby verify that the attached list of creditors is true

and correct to the best of my knowledge.




 Date:       November 6, 2019                                          /s/ BRIAN MANOOKIAN
                                                                       BRIAN MANOOKIAN/CHIEF MANAGER
                                                                       Signer/Title




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               Case 3:23-cv-00961                         Document 5          Filed 10/04/23        Page 27 of 126 PageID #: 45
                                                                                                                                               24
CUMMINGS MANOOKIAN, PLLC
45 MUSIC SQUARE WEST
NASHVILLE TN 37203

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    x




STEVEN L. LEFKOVITZ
LEFKOVITZ & LEFKOVITZ
618 CHURCH ST., #410
NASHVILLE, TN 37219


D.F. CHASE, INC.
C/O PURYEAR LAW
104 WOODMONT BLVD, SUITE 201
NASHVILLE TN 37205


DEAN CHASE ET AL
C/O PURYEAR LAW
104 WOODMONT BLVD, SUITE 201
NASHVILLE TN 37205


SANDRA CHASE
C/O PURYEAR LAW
104 WOODMONT BLVD, SUITE 201
NASHVILLE TN 37205




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                                                                                           25
                                                               United States Bankruptcy Court
                                                                     Middle District of Tennessee
 In re      CUMMINGS MANOOKIAN, PLLC                                                                     Case No.
                                                                                  Debtor(s)              Chapter    7




                                           CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for CUMMINGS MANOOKIAN, PLLC in the above captioned action, certifies that the
following is a (are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or
more of any class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:
 BRIAN MANOOKIAN
 45 MUSIC SQUARE WEST
 NASHVILLE, TN 37203




 None [Check if applicable]




 November 6, 2019                                                     /s/ Steven L. Lefkovitz
 Date                                                                 Steven L. Lefkovitz 5953
                                                                      Signature of Attorney or Litigant
                                                                      Counsel for CUMMINGS MANOOKIAN, PLLC
                                                                      LEFKOVITZ & LEFKOVITZ
                                                                      618 CHURCH ST., #410
                                                                      NASHVILLE, TN 37219
                                                                      615-256-8300 Fax:615-255-4516
                                                                      slefkovitz@lefkovitz.com




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               Case 3:23-cv-00961                         Document 5           Filed 10/04/23       Page 29 of 126 PageID #: 47
                                                                                                                                               26
Information to identify the case:
Debtor
                   CUMMINGS MANOOKIAN, PLLC                                                         EIN 47−2636732
                   Name


United States Bankruptcy Court MIDDLE DISTRICT OF TENNESSEE
                                                                                                    Date case filed for chapter 7 11/6/19
Case number: 3:19−bk−07235

Official Form 309C (For Corporations or Partnerships)
Notice of Chapter 7 Bankruptcy Case −− No Proof of Claim Deadline                                                                                            12/15

For the debtor listed above, a case has been filed under chapter 7 of the Bankruptcy Code. An order for relief has been
entered. This notice has important information about the case for creditors, debtors, and trustees, including
information about the meeting of creditors and deadlines.

The filing of the case imposed an automatic stay against most collection activities. This means that creditors generally may not
take action to collect debts from the debtor or the debtor's property. For example, while the stay is in effect, creditors cannot
sue, assert a deficiency, repossess property, or otherwise try to collect from the debtor. Creditors cannot demand repayment
from debtors by mail, phone, or otherwise. Creditors who violate the stay can be required to pay actual and punitive damages
and attorney's fees.
To protect your rights, consult an attorney. All documents filed in the case may be inspected at the bankruptcy clerk's office at
the address listed below or through PACER (Public Access to Court Electronic Records at www.pacer.gov).

                                    The staff of the bankruptcy clerk's office cannot give legal advice.

Do not file this notice with any proof of claim or other filing in the case.
1. Debtor's full name                        CUMMINGS MANOOKIAN, PLLC
2. All other names used in the
   last 8 years
3. Address                                   45 MUSIC SQUARE WEST
                                             NASHVILLE, TN 37203
4. Debtor's attorney                         LEFKOVITZ AND LEFKOVITZ, PLLC                                        Contact phone: 615 256−8300
    Name and address                         618 CHURCH ST STE 410
                                             NASHVILLE, TN 37219                                                  Email: slefkovitz@lefkovitz.com
5. Bankruptcy trustee                        JEANNE ANN BURTON                                                    Contact phone: 615 678−6960
    Name and address                         Jeanne Ann Burton PLLC
                                             4117 Hillsboro Pk                                                    Email: None
                                             Suite 103−116
                                             NASHVILLE, TN 37215
6. Bankruptcy clerk's office                 701 Broadway Room 170                                                Hours open: 8:00AM−4:00PM
    Documents in this case may be            Nashville, TN 37203                                                  Monday−Friday
    filed at this address. You may
    inspect all records filed in this case                                                                        Contact phone: 615−736−5584
    at this office or online at
    www.pacer.gov.
                                                                                                                  Date: 11/6/19
7. Meeting of creditors                      December 2, 2019 at 10:00 AM                                         Location:
    The debtor's representative must
    attend the meeting to be                 The meeting may be continued or adjourned to a           Customs House, 701 Broadway,
    questioned under oath. Creditors
    may attend, but are not required to
                                             later date. If so, the date will be on the court docket. Room 100, Nashville, TN 37203
    do so.
                                                       *** Valid photo identification required ***

8. Proof of claim                            No property appears to be available to pay creditors. Therefore, please do not file a proof of claim now.
    Please do not file a proof of            If it later appears that assets are available to pay creditors, the clerk will send you another notice telling you
    claim unless you receive a notice        that you may file a proof of claim and stating the deadline.
    to do so.

9. Creditors with a foreign                  If you are a creditor receiving a notice mailed to a foreign address, you may file a motion asking the court to
   address                                   extend the deadlines in this notice. Consult an attorney familiar with United States bankruptcy law if you have
                                             any questions about your rights in this case.
Official Form 309C (For Corporations or Partnerships) Notice of Chapter 7 Bankruptcy Case −− No Proof of Claim Deadline



         Case 3:23-cv-00961                       Document 5                Filed 10/04/23               Page 30 of 126 PageID #: 48
                                                                                                                                                                  27
                                               United States Bankruptcy Court
                                               Middle District of Tennessee
In re:                                                                                                     Case No. 19-07235-CMW
CUMMINGS MANOOKIAN, PLLC                                                                                   Chapter 7
         Debtor
                                                 CERTIFICATE OF NOTICE
District/off: 0650-3                  User: admin                        Page 1 of 1                          Date Rcvd: Nov 07, 2019
                                      Form ID: 309C                      Total Noticed: 6


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Nov 09, 2019.
db             +CUMMINGS MANOOKIAN, PLLC,   45 MUSIC SQUARE WEST,   NASHVILLE, TN 37203-3205
7037352        +D.F. CHASE, INC.,   C/O PURYEAR LAW,   104 WOODMONT BLVD, SUITE 201,   Nashville TN 37205-2245
7037353        +DEAN CHASE ET AL,   C/O PURYEAR LAW,   104 WOODMONT BLVD, SUITE 201,   Nashville TN 37205-2245
7037354        +SANDRA CHASE,   C/O PURYEAR LAW,   104 WOODMONT BLVD, SUITE 201,   Nashville TN 37205-2245

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
aty             E-mail/Text: slefkovitz@lefkovitz.com Nov 08 2019 02:38:03      LEFKOVITZ AND LEFKOVITZ, PLLC,
                 618 CHURCH ST STE 410,   NASHVILLE, TN 37219
tr              EDI: BJABURTON.COM Nov 08 2019 07:13:00      JEANNE ANN BURTON,   Jeanne Ann Burton PLLC,
                 4117 Hillsboro Pk,   Suite 103-116,    NASHVILLE, TN 37215
                                                                                             TOTAL: 2

             ***** BYPASSED RECIPIENTS *****
NONE.                                                                                                               TOTAL: 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Nov 09, 2019                                             Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on November 6, 2019 at the address(es) listed below:
NONE.                                                                                       TOTAL: 0




           Case 3:23-cv-00961               Document 5           Filed 10/04/23           Page 31 of 126 PageID #: 49
                                                                                                                                              28
Information to identify the case:
Debtor
                   CUMMINGS MANOOKIAN, PLLC                                                         EIN 47−2636732
                   Name


United States Bankruptcy Court MIDDLE DISTRICT OF TENNESSEE
                                                                                                    Date case filed for chapter 7 11/6/19
Case number: 3:19−bk−07235

Official Form 309C (For Corporations or Partnerships)
Notice of Chapter 7 Bankruptcy Case −− No Proof of Claim Deadline                                                                                            12/15

For the debtor listed above, a case has been filed under chapter 7 of the Bankruptcy Code. An order for relief has been
entered. This notice has important information about the case for creditors, debtors, and trustees, including
information about the meeting of creditors and deadlines.

The filing of the case imposed an automatic stay against most collection activities. This means that creditors generally may not
take action to collect debts from the debtor or the debtor's property. For example, while the stay is in effect, creditors cannot
sue, assert a deficiency, repossess property, or otherwise try to collect from the debtor. Creditors cannot demand repayment
from debtors by mail, phone, or otherwise. Creditors who violate the stay can be required to pay actual and punitive damages
and attorney's fees.
To protect your rights, consult an attorney. All documents filed in the case may be inspected at the bankruptcy clerk's office at
the address listed below or through PACER (Public Access to Court Electronic Records at www.pacer.gov).

                                    The staff of the bankruptcy clerk's office cannot give legal advice.

Do not file this notice with any proof of claim or other filing in the case.
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2. All other names used in the
   last 8 years
3. Address                                   45 MUSIC SQUARE WEST
                                             NASHVILLE, TN 37203
4. Debtor's attorney                         LEFKOVITZ AND LEFKOVITZ, PLLC                                        Contact phone: 615 256−8300
    Name and address                         618 CHURCH ST STE 410
                                             NASHVILLE, TN 37219                                                  Email: slefkovitz@lefkovitz.com
5. Bankruptcy trustee                        JEANNE ANN BURTON                                                    Contact phone: 615 678−6960
    Name and address                         Jeanne Ann Burton PLLC
                                             4117 Hillsboro Pk                                                    Email: None
                                             Suite 103−116
                                             NASHVILLE, TN 37215
6. Bankruptcy clerk's office                 701 Broadway Room 170                                                Hours open: 8:00AM−4:00PM
    Documents in this case may be            Nashville, TN 37203                                                  Monday−Friday
    filed at this address. You may
    inspect all records filed in this case                                                                        Contact phone: 615−736−5584
    at this office or online at
    www.pacer.gov.
                                                                                                                  Date: 11/6/19
7. Meeting of creditors                      December 2, 2019 at 10:00 AM                                         Location:
    The debtor's representative must
    attend the meeting to be                 The meeting may be continued or adjourned to a           Customs House, 701 Broadway,
    questioned under oath. Creditors
    may attend, but are not required to
                                             later date. If so, the date will be on the court docket. Room 100, Nashville, TN 37203
    do so.
                                                       *** Valid photo identification required ***

8. Proof of claim                            No property appears to be available to pay creditors. Therefore, please do not file a proof of claim now.
    Please do not file a proof of            If it later appears that assets are available to pay creditors, the clerk will send you another notice telling you
    claim unless you receive a notice        that you may file a proof of claim and stating the deadline.
    to do so.

9. Creditors with a foreign                  If you are a creditor receiving a notice mailed to a foreign address, you may file a motion asking the court to
   address                                   extend the deadlines in this notice. Consult an attorney familiar with United States bankruptcy law if you have
                                             any questions about your rights in this case.
Official Form 309C (For Corporations or Partnerships) Notice of Chapter 7 Bankruptcy Case −− No Proof of Claim Deadline




      Case 3:23-cv-00961                        Document 5                 Filed 10/04/23                 Page 32 of 126 PageID #: 50
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                    IN THE UNITED STATES BANKRUPTCY COURT
                         MIDDLE DISTRICT OF TENNESSEE
                               NASHVILLE DIVISION

 IN RE:                                           )
                                                  ) No. 3:19-BK-07235
 CUMMINGS MANOOKIAN, PLLC                         ) Chapter 7
                                                  ) Judge Charles M. Walker
          Debtor.                                 )

                                NOTICE OF APPEARANCE
                               AND REQUEST FOR NOTICES

       The undersigned, Daniel H. Puryear, hereby enters his appearance as counsel for Dean

Chase, Sandra Chase and D.F. Chase, Inc., creditors and parties in interest, and pursuant to Fed.

R. Bankr. P. 2002 and LBR 9010-1, on behalf of creditors, hereby requests that all matters which

must be noticed to creditors, any creditors’ committee, and any other parties-in-interest, and all

other notices in this case, whether sent by the Court, the Debtor(s), or any other party-in-interest

in this case, be sent to the undersigned at the following address and, pursuant to Rule 2002(g), that

the following be added to the Court’s master mailing list:

                                      Daniel H. Puryear, Esq.
                                     104 Woodmont Boulevard
                                    Woodmont Centre, Suite 201
                                       Nashville, TN 37205
                                    Telephone: (615) 630-6601
                                     Facsimile: (615) 630-6602
                                  dpuryear@puryearlawgroup.com




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                                             Respectfully submitted,

                                             /s/ Daniel H. Puryear
                                             Daniel H. Puryear; No. 18190
                                             Puryear Law Group
                                             104 Woodmont Boulevard, Suite 201
                                             Nashville, TN 37205
                                             (615) 630-6601 – Telephone
                                             (615) 630-6602 – Facsimile
                                             dpuryear@puryearlawgroup.com

                                             Counsel for Judgment Creditors Dean Chase,
                                             Sandra Chase and D.F. Chase, Inc.



                                CERTIFICATE OF SERVICE

        I hereby certify that, on November 14, 2019, the foregoing was served via the Court’s
electronic case filing system and/or U.S. Mail, postage prepaid, upon:

 Steve Lefkovitz. Esq.                            Jeanne Ann Burton, Trustee
 Lefkovitz And Lefkovitz, PLLC                    Jeanne Ann Burton PLLC
 618 Church Street, Suite 410                     4117 Hillsboro Pike, 6XLWHí
 Nashville, TN 37219                              Nashville, TN 37215
 (615) 256-8300 – Telephone                       (615) í – Telephone
 slefkovitz@lefkovitz.com

 U.S. Trustee
 US Trustee Office of the United States Trustee
 701 Broadway, Suite 318
 Nashville, TN 37203-3966
 (615) 736-2254 – Telephone



                                             /s/ Daniel H. Puryear
                                             Daniel H. Puryear




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    Case 3:23-cv-00961    Document 5       Filed 10/04/23     Page 43 of 126 PageID #: 61
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 Fill in this information to identify the case:

 Debtor name         CUMMINGS MANOOKIAN, PLLC

 United States Bankruptcy Court for the:            MIDDLE DISTRICT OF TENNESSEE

 Case number (if known)          3:19-bk-07235
                                                                                                                                                    Check if this is an
                                                                                                                                                       amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                       12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:      List All Creditors with PRIORITY Unsecured Claims

       1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

           No. Go to Part 2.
           Yes. Go to line 2.

 Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
       3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
          out and attach the Additional Page of Part 2.
                                                                                                                                                      Amount of claim

 3.1       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                 $760,000.00
           DEAN CHASE ET AL                                                   Contingent
           C/O PURYEAR LAW
           104 WOODMONT BLVD, SUITE 201
                                                                              Unliquidated
           Nashville, TN 37205                                                Disputed
           Date(s) debt was incurred                                         Basis for the claim:
           Last 4 digits of account number                                   Is the claim subject to offset?    No  Yes
 3.2       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                 $300,000.00
           GRANT KONVALINKA & HARRIS                                          Contingent
           633 CHESTNUT STREET
           SUITE 900
                                                                              Unliquidated
           Chattanooga, TN 37450                                              Disputed
           Date(s) debt was incurred                                         Basis for the claim:
           Last 4 digits of account number                                   Is the claim subject to offset?    No  Yes

 Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

   If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

           Name and mailing address                                                                   On which line in Part1 or Part 2 is the             Last 4 digits of
                                                                                                      related creditor (if any) listed?                   account number, if
                                                                                                                                                          any
 4.1       D.F. CHASE, INC.
           C/O PURYEAR LAW                                                                            Line     3.1
           104 WOODMONT BLVD, SUITE 201
           Nashville, TN 37205                                                                              Not listed. Explain


 4.2       SANDRA CHASE
           C/O PURYEAR LAW                                                                            Line     3.1
           104 WOODMONT BLVD, SUITE 201
           Nashville, TN 37205                                                                              Not listed. Explain




Official Form 206E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                         page 1 of 2
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                           31811                                             Best Case Bankruptcy
               Case 3:23-cv-00961                         Document 5             Filed 10/04/23                      Page 44 of 126 PageID #: 62
                                                                                                                                                                                  41
 Debtor       CUMMINGS MANOOKIAN, PLLC                                                            Case number (if known)        3:19-bk-07235
              Name

 Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                   Total of claim amounts
 5a. Total claims from Part 1                                                                       5a.        $                          0.00
 5b. Total claims from Part 2                                                                       5b.   +    $                  1,060,000.00

 5c. Total of Parts 1 and 2
     Lines 5a + 5b = 5c.                                                                            5c.        $                    1,060,000.00




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 2 of 2
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               Case 3:23-cv-00961                         Document 5             Filed 10/04/23               Page 45 of 126 PageID #: 63
                                                                                                                                                                      42
                      IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE MIDDLE DISTRICT OF TENNESSEE


  IN RE:
                                                               }       Case No. 3:19-bk-07235
  CUMMINGS MANOOKIAN, PLLC                                     }
                                                               }       Chapter 7
                                                               }
  Debtor(s)                                                    }


                                 NOTICE OF AMENDMENT TO SCHEDULE E/F



           NOW COMES the Debtor(s), through counsel, and hereby gives notice that Schedule E/F has

  been amended to include the following creditor(s):

GRANT KONVALINKA & HARRIS
633 CHESTNUT STREET
SUITE 900
Chattanooga, TN 37450




                                                       Respectfully submitted,


                                                       LEFKOVITZ & LEFKOVITZ


                                                       By: /s/ Steven L. Lefkovitz
                                                       Steven L. Lefkovitz, No. 5953
                                                       Attorney for the Debtor(s)
                                                       618 Church St., #410
                                                       Nashville, TN 37219
                                                       (615) 256-8300 fax (615) 255-4516
                                                       slefkovitz@lefkovitz.com




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                                                                                                     43
                                   CERTIFICATE OF SERVICE

 A copy of the foregoing has been sent to the U.S. Trustee, Chapter 13 Trustee and all creditors and
 parties-in-interest to receive notice electronically via the Court’s ECF filing system on November
 19, 2019.
                                                               /s/ Steven L. Lefkovitz
                                                               Steven L. Lefkovitz




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                                                                                                       44
 Fill in this information to identify the case:

 Debtor name         CUMMINGS MANOOKIAN, PLLC

 United States Bankruptcy Court for the:            MIDDLE DISTRICT OF TENNESSEE

 Case number (if known)         3:19-bk-07235
                                                                                                                                 Check if this is an
                                                                                                                                    amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                         12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



                Declaration and signature


       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
       individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

                 Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
                 Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                 Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
                 Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
                 Schedule H: Codebtors (Official Form 206H)
                 Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                 Amended Schedule
                 Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                 Other document that requires a declaration

       I declare under penalty of perjury that the foregoing is true and correct.

        Executed on          November 19, 2019                       X /s/ BRIAN MANOOKIAN
                                                                       Signature of individual signing on behalf of debtor

                                                                       BRIAN MANOOKIAN
                                                                       Printed name

                                                                       CHIEF MANAGER
                                                                       Position or relationship to debtor




Official Form 202                                             Declaration Under Penalty of Perjury for Non-Individual Debtors
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                                                                                                                                                                45
 Fill in this information to identify the case:

 Debtor name            CUMMINGS MANOOKIAN, PLLC

 United States Bankruptcy Court for the:                       MIDDLE DISTRICT OF TENNESSEE

 Case number (if known)               3:19-bk-07235
                                                                                                                                                                                    Check if this is an
                                                                                                                                                                                        amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                    12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                   $                    0.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                      $            70,000.00

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                     $            70,000.00


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                   $                    0.00


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                      $                    0.00

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                              +$        1,060,000.00


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                            $          1,060,000.00




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                  page 1
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                Case 3:23-cv-00961                                    Document 5                         Filed 10/04/23                           Page 49 of 126 PageID #: 67
                                                                                                                                                                                                                     46
 Fill in this information to identify the case:

 Debtor name         CUMMINGS MANOOKIAN, PLLC

 United States Bankruptcy Court for the:            MIDDLE DISTRICT OF TENNESSEE

 Case number (if known)         3:19-bk-07235
                                                                                                                                   Check if this is an
                                                                                                                                      amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                      12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

 For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
 schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
 debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
 Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

     No. Go to Part 2.
     Yes Fill in the information below.
    All cash or cash equivalents owned or controlled by the debtor                                                                    Current value of
                                                                                                                                      debtor's interest

 Part 2:        Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

     No. Go to Part 3.
     Yes Fill in the information below.

 Part 3:        Accounts receivable
10. Does the debtor have any accounts receivable?

     No. Go to Part 4.
     Yes Fill in the information below.
 11.       Accounts receivable
           11a. 90 days old or less:                                 70,000.00   -                                  0.00 = ....                  $70,000.00
                                              face amount                              doubtful or uncollectible accounts




 12.       Total of Part 3.                                                                                                                   $70,000.00
           Current value on lines 11a + 11b = line 12. Copy the total to line 82.

 Part 4:        Investments
13. Does the debtor own any investments?

     No. Go to Part 5.
     Yes Fill in the information below.

 Part 5:        Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                            page 1
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               Case 3:23-cv-00961                         Document 5                 Filed 10/04/23          Page 50 of 126 PageID #: 68
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 Debtor         CUMMINGS MANOOKIAN, PLLC                                                      Case number (If known) 3:19-bk-07235
                Name


     No. Go to Part 6.
     Yes Fill in the information below.

 Part 6:        Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

     No. Go to Part 7.
     Yes Fill in the information below.

 Part 7:        Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

     No. Go to Part 8.
     Yes Fill in the information below.
            General description                                               Net book value of       Valuation method used   Current value of
                                                                              debtor's interest       for current value       debtor's interest
                                                                              (Where available)

 39.        Office furniture

 40.        Office fixtures

 41.        Office equipment, including all computer equipment and
            communication systems equipment and software
            Debtor does not own any office equipment or
            furniture.                                                                      $0.00                                               $0.00



 42.        Collectibles Examples: Antiques and figurines; paintings, prints, or other artwork;
            books, pictures, or other art objects; china and crystal; stamp, coin, or baseball card
            collections; other collections, memorabilia, or collectibles

 43.        Total of Part 7.                                                                                                                   $0.00
            Add lines 39 through 42. Copy the total to line 86.

 44.        Is a depreciation schedule available for any of the property listed in Part 7?
             No
             Yes
 45.        Has any of the property listed in Part 7 been appraised by a professional within the last year?
             No
             Yes
 Part 8:        Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

     No. Go to Part 9.
     Yes Fill in the information below.

 Part 9:        Real property
54. Does the debtor own or lease any real property?

     No. Go to Part 10.
     Yes Fill in the information below.

 Part 10:       Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?
Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                 page 2
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                                                                                                                                                        48
 Debtor         CUMMINGS MANOOKIAN, PLLC                                                     Case number (If known) 3:19-bk-07235
                Name



     No. Go to Part 11.
     Yes Fill in the information below.

 Part 11:       All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

     No. Go to Part 12.
     Yes Fill in the information below.
                                                                                                                             Current value of
                                                                                                                             debtor's interest


 71.        Notes receivable
            Description (include name of obligor)

 72.        Tax refunds and unused net operating losses (NOLs)
            Description (for example, federal, state, local)

 73.        Interests in insurance policies or annuities

 74.        Causes of action against third parties (whether or not a lawsuit
            has been filed)

 75.        Other contingent and unliquidated claims or causes of action of
            every nature, including counterclaims of the debtor and rights to
            set off claims

 76.        Trusts, equitable or future interests in property

 77.        Other property of any kind not already listed Examples: Season tickets,
            country club membership
            There are cases where costs have been advanced in
            lawsuits contingent upon cases being successfully
            resolved but are presently unrealized due to the cases
            being pending without resolution.                                                                                            Unknown




 78.        Total of Part 11.                                                                                                               $0.00
            Add lines 71 through 77. Copy the total to line 90.

 79.        Has any of the property listed in Part 11 been appraised by a professional within the last year?
             No
             Yes




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                page 3
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                                                                                                                                                       49
 Debtor          CUMMINGS MANOOKIAN, PLLC                                                                            Case number (If known) 3:19-bk-07235
                 Name



 Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                               Current value of                    Current value of real
                                                                                                     personal property                   property

 80. Cash, cash equivalents, and financial assets.
     Copy line 5, Part 1                                                                                                     $0.00

 81. Deposits and prepayments. Copy line 9, Part 2.                                                                          $0.00

 82. Accounts receivable. Copy line 12, Part 3.                                                                     $70,000.00

 83. Investments. Copy line 17, Part 4.                                                                                      $0.00

 84. Inventory. Copy line 23, Part 5.                                                                                        $0.00

 85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

 86. Office furniture, fixtures, and equipment; and collectibles.
     Copy line 43, Part 7.                                                                                                   $0.00

 87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                               $0.00

 88. Real property. Copy line 56, Part 9.........................................................................................>                               $0.00

 89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

 90. All other assets. Copy line 78, Part 11.                                                    +                           $0.00

 91. Total. Add lines 80 through 90 for each column                                                              $70,000.00          + 91b.                      $0.00


 92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                  $70,000.00




Official Form 206A/B                                               Schedule A/B Assets - Real and Personal Property                                                          page 4
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                Case 3:23-cv-00961                            Document 5                     Filed 10/04/23                    Page 53 of 126 PageID #: 71
                                                                                                                                                                                      50
 Fill in this information to identify the case:

 Debtor name         CUMMINGS MANOOKIAN, PLLC

 United States Bankruptcy Court for the:            MIDDLE DISTRICT OF TENNESSEE

 Case number (if known)         3:19-bk-07235
                                                                                                                               Check if this is an
                                                                                                                                  amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.     Does the debtor have any executory contracts or unexpired leases?
        No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
       Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal            Property
(Official Form 206A/B).

 2. List all contracts and unexpired leases                                    State the name and mailing address for all other parties with
                                                                               whom the debtor has an executory contract or unexpired
                                                                               lease

 2.1       State what the contract or
           lease is for and the nature
           of the debtor's interest

              State the term remaining

            List the contract number of
             any government contract


 2.2       State what the contract or
           lease is for and the nature
           of the debtor's interest

              State the term remaining

            List the contract number of
             any government contract


 2.3       State what the contract or
           lease is for and the nature
           of the debtor's interest

              State the term remaining

            List the contract number of
             any government contract


 2.4       State what the contract or
           lease is for and the nature
           of the debtor's interest

              State the term remaining

            List the contract number of
             any government contract




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                           Page 1 of 1
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               Case 3:23-cv-00961                         Document 5      Filed 10/04/23            Page 54 of 126 PageID #: 72
                                                                                                                                                              51
 Fill in this information to identify the case:

 Debtor name         CUMMINGS MANOOKIAN, PLLC

 United States Bankruptcy Court for the:            MIDDLE DISTRICT OF TENNESSEE

 Case number (if known)         3:19-bk-07235
                                                                                                                           Check if this is an
                                                                                                                               amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                      12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

      1. Do you have any codebtors?

  No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
  Yes
   2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
      creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
      on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
            Column 1: Codebtor                                                                        Column 2: Creditor



             Name                              Mailing Address                                  Name                            Check all schedules
                                                                                                                                that apply:

    2.1      Brian Manookian                   45 MUSIC SQUARE WEST                             DEAN CHASE ET AL                D
                                               NASHVILLE, TN 37203                                                               E/F        3.1
                                                                                                                                G




Official Form 206H                                                       Schedule H: Your Codebtors                                          Page 1 of 1
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               Case 3:23-cv-00961                         Document 5    Filed 10/04/23          Page 55 of 126 PageID #: 73
                                                                                                                                                           52
                                                               United States Bankruptcy Court
                                                                     Middle District of Tennessee
 In re      CUMMINGS MANOOKIAN, PLLC                                                                     Case No.   3:19-bk-07235
                                                                                  Debtor(s)              Chapter    7




                                               VERIFICATION OF CREDITOR MATRIX


I, the CHIEF MANAGER of the corporation named as the debtor in this case, hereby verify that the attached list of creditors is true

and correct to the best of my knowledge.




 Date:       November 19, 2019                                         /s/ BRIAN MANOOKIAN
                                                                       BRIAN MANOOKIAN/CHIEF MANAGER
                                                                       Signer/Title




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                                                                                                                                                   53
 Fill in this information to identify the case:

 Debtor name         CUMMINGS MANOOKIAN, PLLC

 United States Bankruptcy Court for the:            MIDDLE DISTRICT OF TENNESSEE

 Case number (if known)         3:19-bk-07235
                                                                                                                                        Check if this is an
                                                                                                                                           amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                       04/19
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

 Part 1:      Income

1. Gross revenue from business

       None.
       Identify the beginning and ending dates of the debtor’s fiscal year,                    Sources of revenue                          Gross revenue
       which may be a calendar year                                                            Check all that apply                        (before deductions and
                                                                                                                                           exclusions)

       From the beginning of the fiscal year to filing date:                                    Operating a business                                          $0.00
       From 1/01/2019 to Filing Date
                                                                                                Other


       For prior year:                                                                          Operating a business                                $789,092.00
       From 1/01/2018 to 12/31/2018
                                                                                                Other


       For year before that:                                                                    Operating a business                              $6,852,426.00
       From 1/01/2017 to 12/31/2017
                                                                                                Other

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

       None.
                                                                                               Description of sources of revenue           Gross revenue from
                                                                                                                                           each source
                                                                                                                                           (before deductions and
                                                                                                                                           exclusions)

 Part 2:      List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $6,825. (This amount may be adjusted on 4/01/22
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)

       None.
       Creditor's Name and Address                                         Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                               Check all that apply

4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                   page 1
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               Case 3:23-cv-00961                         Document 5             Filed 10/04/23              Page 57 of 126 PageID #: 75
                                                                                                                                                                       54
 Debtor       CUMMINGS MANOOKIAN, PLLC                                                                  Case number (if known) 3:19-bk-07235



    or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $6,825. (This amount
    may be adjusted on 4/01/22 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
    listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
    debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

       None.
       Insider's name and address                                          Dates                 Total amount of value           Reasons for payment or transfer
       Relationship to debtor

5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
   a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

       None
       Creditor's name and address                               Describe of the Property                                      Date                 Value of property


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

       None
       Creditor's name and address                               Description of the action creditor took                       Date action was                 Amount
                                                                                                                               taken

 Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.

       None.
               Case title                                        Nature of case             Court or agency's name and                Status of case
               Case number                                                                  address
       7.1.    GRANT KONVALINKA &                                CIVIL CASE                 CHANCERY COURT OF                          Pending
               HARRIS V. Debtor                                                             HAMILTON COUNTY                            On appeal
                                                                                                                                       Concluded

       7.2.    CHASE V. STEWART                                  CONTEMPT                   CIRCUIT COURT OF                           Pending
                                                                 ACTION AGAINST             WILLIAMSON COUNTY TN                       On appeal
                                                                 THE DEBTOR
                                                                                                                                       Concluded
                                                                 WHICH IS
                                                                 PENDING IN THE
                                                                 CASE BUT THE
                                                                 DEBTOR IS NOT A
                                                                 DEFENDANT IN
                                                                 THE CASE


8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                       page 2
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                                                                                                                                                                          55
 Debtor        CUMMINGS MANOOKIAN, PLLC                                                                     Case number (if known) 3:19-bk-07235



       None
       Custodian's name and Address                              Describe the property                                                  Value
       DEAN CHASE ET AL                                          PHILLIP YOUNG HAS BEEN APPOINTED RECEIVED
                                                                 IN THE CHASE V. STEWART CASE                                                             Unknown
       C/O PURYEAR LAW
       104 WOODMONT BLVD, SUITE 201
                                                                 Case title                                                             Court name and address
       Nashville, TN 37205
                                                                 CHASE V. STEWART                                                       CIRCUIT COURT OF
                                                                 Case number                                                            WILLIAMSON COUNTY

                                                                 Date of order or assignment




 Part 4:       Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

       None
               Recipient's name and address                      Description of the gifts or contributions                Dates given                           Value


 Part 5:       Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

       None
       Description of the property lost and                      Amount of payments received for the loss                 Dates of loss            Value of property
       how the loss occurred                                                                                                                                    lost
                                                                 If you have received payments to cover the loss, for
                                                                 example, from insurance, government compensation, or
                                                                 tort liability, list the total received.

                                                                 List unpaid claims on Official Form 106A/B (Schedule
                                                                 A/B: Assets – Real and Personal Property).

 Part 6:       Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

       None.
                Who was paid or who received                         If not money, describe any property transferred           Dates                Total amount or
                the transfer?                                                                                                                                value
                Address
       11.1.    LEFKOVITZ & LEFKOVITZ
                618 CHURCH ST., #410                                 Attorney Fees $3,000
                NASHVILLE, TN 37219                                  Court Costs $335                                                                     $3,335.00

                Email or website address
                slefkovitz@lefkovitz.com

                Who made the payment, if not debtor?




12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.


Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                     page 3
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                                                                                                                                                                        56
 Debtor      CUMMINGS MANOOKIAN, PLLC                                                                    Case number (if known) 3:19-bk-07235




       None.
       Name of trust or device                                       Describe any property transferred                Dates transfers             Total amount or
                                                                                                                      were made                            value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

       None.
               Who received transfer?                            Description of property transferred or                  Date transfer            Total amount or
               Address                                           payments received or debts paid in exchange             was made                          value

 Part 7:      Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


       Does not apply
                Address                                                                                                    Dates of occupancy
                                                                                                                           From-To

 Part 8:      Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

           No. Go to Part 9.
       Yes. Fill in the information below.

                Facility name and address                        Nature of the business operation, including type of services            If debtor provides meals
                                                                 the debtor provides                                                     and housing, number of
                                                                                                                                         patients in debtor’s care

 Part 9:      Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

       No.
           Yes. State the nature of the information collected and retained.

                  SOCIAL SECURITY NUMBER AND MEDICAL RECORDS
                  Does the debtor have a privacy policy about that information?
                   No
                   Yes
17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

           No. Go to Part 10.
       Yes. Does the debtor serve as plan administrator?

 Part 10:     Certain Financial Accounts, Safe Deposit Boxes, and Storage Units




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 Debtor        CUMMINGS MANOOKIAN, PLLC                                                                 Case number (if known) 3:19-bk-07235




18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

       None
                Financial Institution name and                   Last 4 digits of         Type of account or          Date account was             Last balance
                Address                                          account number           instrument                  closed, sold,            before closing or
                                                                                                                      moved, or                         transfer
                                                                                                                      transferred
       18.1.    INS BANK                                         XXXX-                     Checking                  SPRING OF 2019                  Unknown
                2106 CRESTMOOR ROAD                                                        Savings
                Nashville, TN 37215
                                                                                           Money Market
                                                                                           Brokerage
                                                                                           Other

19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.


       None
       Depository institution name and address                       Names of anyone with                 Description of the contents          Do you still
                                                                     access to it                                                              have it?
                                                                     Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.


       None
       Facility name and address                                     Names of anyone with                 Description of the contents          Do you still
                                                                     access to it                                                              have it?


 Part 11:      Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

     None

 Part 12:      Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

      Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
      owned, operated, or utilized.

      Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
      similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.



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 Debtor      CUMMINGS MANOOKIAN, PLLC                                                                   Case number (if known) 3:19-bk-07235




           No.
       Yes. Provide details below.
       Case title                                                    Court or agency name and             Nature of the case                            Status of case
       Case number                                                   address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

           No.
       Yes. Provide details below.
       Site name and address                                         Governmental unit name and               Environmental law, if known               Date of notice
                                                                     address

24. Has the debtor notified any governmental unit of any release of hazardous material?

           No.
       Yes. Provide details below.
       Site name and address                                         Governmental unit name and               Environmental law, if known               Date of notice
                                                                     address

 Part 13:     Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

       None
    Business name address                                     Describe the nature of the business              Employer Identification number
                                                                                                               Do not include Social Security number or ITIN.

                                                                                                               Dates business existed

26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
          None
       Name and address                                                                                                                        Date of service
                                                                                                                                               From-To
       26a.1.       MAHAN AND ASSOCIATES                                                                                                       WITHIN THE LAST 2
                    2531 Park Dr                                                                                                               YEARS
                    SUITE C
                    Nashville, TN 37214

    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.

           None

    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

           None
       Name and address                                                                                      If any books of account and records are
                                                                                                             unavailable, explain why

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

           None
Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                          page 6
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 Debtor      CUMMINGS MANOOKIAN, PLLC                                                                   Case number (if known) 3:19-bk-07235



       Name and address

27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

           No
       Yes. Give the details about the two most recent inventories.
               Name of the person who supervised the taking of the                          Date of inventory        The dollar amount and basis (cost, market,
               inventory                                                                                             or other basis) of each inventory

28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.

       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Brian Manookian                                45 MUSIC SQUARE WEST                                CHIEF MANAGER                         100%
                                                      NASHVILLE, TN 37203



29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


           No
       Yes. Identify below.

30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

           No
       Yes. Identify below.
               Name and address of recipient                     Amount of money or description and value of             Dates              Reason for
                                                                 property                                                                   providing the value

31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

           No
       Yes. Identify below.
    Name of the parent corporation                                                                             Employer Identification number of the parent
                                                                                                               corporation

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

           No
       Yes. Identify below.
    Name of the pension fund                                                                                   Employer Identification number of the parent
                                                                                                               corporation




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 Debtor      CUMMINGS MANOOKIAN, PLLC                                                                   Case number (if known) 3:19-bk-07235




 Part 14:     Signature and Declaration

      WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
      connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
      18 U.S.C. §§ 152, 1341, 1519, and 3571.

      I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true
      and correct.

      I declare under penalty of perjury that the foregoing is true and correct.

 Executed on         November 19, 2019

 /s/ BRIAN MANOOKIAN                                                    BRIAN MANOOKIAN
 Signature of individual signing on behalf of the debtor                Printed name

 Position or relationship to debtor         CHIEF MANAGER

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
 No
 Yes




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                     IN THE UNTIED STATES BANKRUPTCY COURT
                          MIDDLE DISTRICT OF TENNESSEE
                                NASHVILLE DIVISION

IN RE:                                          )
                                                ) No. 3:19-BK-07235
CUMMINGS MANOOKIAN, PLLC                        ) Chapter 7
                                                ) Judge Charles M. Walker
         Debtor.                                )

                                 NOTICE OF APPEARANCE
                                AND REQUEST FOR NOTICES

         The undersigned, Phillip North, hereby enters his appearance as counsel for Toby Smith,

M.D., Middle Tennessee Pulmonary, George Robertson, Sr., M.D. and Family Medical

Associates, creditors and parties in interest, and pursuant to Fed. R. Bankr. P. 2002 and LBR 9010-

1, on behalf of creditors, hereby requests that all matter which must be noticed to creditors, any

creditors’ committee, and any other parties-in-interest, and all other notices in this case, whether

sent by the Court, the Debtor(s), or any other party-in-interest in this case, be sent to the

undersigned at the following address and, pursuant to Rule 2002(g), that the following be added

to the Court’s master mailing list:

                                             Phillip North
                                             Philip’s Plaza
                                       414 Union Street, Ste. 1850
                                          Nashville, TN 37219
                                      Telephone: (615) 255-2555
                                       Facsimile: (615) 255-0032
                                             pn@npr.legal




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                                                                                                       62
                                            Respectfully submitted,




                                            /s/ Phillip North_________________________
                                            Phillip North, #2407
                                            North, Pursell & Ramos, PLC
                                            Philip’s Plaza
                                            414 Union Street, Suite 1850
                                            Nashville, Tennessee 37219-1783
                                            (615) 255-2555 – Telephone
                                            (615) 255-0032 – Facsimile
                                            pn@npr.legal
                                            Counsel for Toby Smith, M.D.,Middle
                                            Tennessee Pulmonary Associate, PLLC, George
                                            Robertson, M.D. and Family Medical Associates.


                               CERTIFICATE OF SERVICE

        I hereby certify that, on December 4, 2019, the foregoing was served via the Court’s
electronic case filing system and/or U.S. Mail, postage prepaid, upon:

       Steve Lefkovitz, Esq.
       Lefkovitz & Lefkovitz, PLLC
       618 Church Street, Ste. 410
       Nashville, TN 37219
       (615) 256-8300 – Telephone
       slefkovitz@lefkovitz.com

       Jeanne Ann Burton, Trustee
       Jeanne Ann Burton, PLLC
       4117 Hillsboro Pike, Ste. 103-116
       Nashville, TN 37215
       (615) 678-6960 – Telephone

       U.S. Trustee
       U.S. Trustee Office of the United States Trustee
       701 Broadway, Ste. 318
       Nashville, TN 37203-3966
       (615) 736-2254 - Telephone


                                            /s/ Phillip North
                                            Phillip North




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,$        6/>B3@230B=@6/2<=AB/<27<5B=16/::3<53/BB=@<3GAJ433A031/CA37BE/A

<=B / AC@>:CA 1/A3 #) & "  #%$$#   '      /<9@ ($.         

230B=@JA>@7<17>/:6/2<=AB/<27<5B==0831BB=/1:/7;031/CA3B631/A3E/A<=B/AC@>:CA1/A3

)67A7A031/CA3/6/>B3@230B=@=@7BA1=@>=@/B3>@7<17>/:7A<=B233;32/<H7<B3@3AB32>/@BGI

0GB63A31=C@BA )63BE=3F13>B7=<AB=B67A53<3@/:@C:3/@3E63@3 />@=13327<5;756B

/4431B/27A16/@53=@/<3F3;>B/AA3B=@ E63@3B631/A37A:793:GB=03/AC@>:CA1/A3 

"$        $ "'!"##    /<9@"-(         /<9@,)3<<      4B63

30B=@1:/7;AAB/<27<5031/CA3/;/BB3@7A/AC@>:CA1/A37B7AB63230B=@JA0C@23<B=>@=D3B6/B

B631/A37A:793:GB=@3AC:B7</AC@>:CA 

       <B67A;/BB3@B63@3E7::03<=27A16/@53031/CA3B6330B=@7A/1=@>=@/B33<B7BG/<2

B63@3/@3<=3F3;>B/AA3BA#@#/<==97/<6/AA75<32AB/B3;3<BAC<23@>3</:BG=4>3@8C@GB6/B

:7AB     =4/AA3BA/5/7<AB;=@3B6/<              =41:/7;A<=E;=@3B6/<                E7B6

B6347:7<5=4:/7;$= E6716E/A<=B:7AB320GB6330B=@7<B63A1632C:3A/A32C>=<B63

4/1BA=4B67A1/A3/<2B63:/E@35/@27<5AB/<27<5=4B63>@7<17>/:=4/1=@>=@/B316/>B3@230B=@

#@ #/<==97/< 6/A <= AB/<27<5 B= =0831B B= B63 #=B7=< =@ /<G 4CBC@3 ;=B7=<A 47:32 0G B63

)@CAB33

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           )63C<23@A75<3263@30G13@B7473AB6/B/1=>G=4B63>@31327<52=1C;3<BE/A
3:31B@=<71/::G47:32/<2A3@D32D7/B63=C@BJAAGAB3;B67A B62/G=4313;03@      /<2
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                                           $/A6D7::3)$       
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          7ULDO+HDULQJ'DWH V                                &RXUW5HSRUWHU                               &RXUWURRP'HSXW\
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                                                                                                    83
      Dated: 12/20/2019




                      IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE MIDDLE DISTRICT OF TENNESSEE
                                 NASHVILLE DIVISION

IN RE:                                         )
                                               )       CASE NO: 3:19-bk-07235
CUMMINGS MANOOKIAN, PLLC,                      )       Chapter 7
                                               )       Honorable Charles M. Walker
                Debtor.                        )


                                               ORDER

         This matter came before the court pursuant to the Chapter 7 Trustee’s Application and

Notice to Employ Thompson Burton PLLC as special counsel for the estate.

         The relevant legal authority is Section 327(e) of the Bankruptcy Code which provides

that “[t]he trustee, with the court’s approval, may employ, for a specified special purpose, other

than to represent the trustee in conducting the case, an attorney that has represented the debtor, if

in the best interest of the estate, and if such attorney does not represent or hold any interest

adverse to the debtor or to the estate with respect to the matter on which such attorney is to be

employed.”

         Based on the Objection and the Supplemental Reply filed by Mr. Manookian, the Court

believes that the disclosures within the Application require additional detail. Neither the

Application nor the testimony elicited during the December 17, 2019 hearing contain the

specificity necessary for the Court to rule. The scope of the employment must be more specific

and provide the details necessary for the Court to address whether the applicant has an adverse

interest to the debtor or the estate with respect to the matter or matters on which such attorney is




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to be employed. Therefore, the trustee has until Tuesday, December 24, 2019 to file a

supplemental application and supporting affidavit to specifically detail the scope of work that is

currently contemplated for Thompson Burton PLLC, as opposed to the broad general statement

in paragraph 3 of the Application and provide details and full disclosure of any current or

potential conflicts that may exist. The supplement should also detail any and all prepetition

actions by Thompson Burton PLLC as they relate to the scope of employment contemplated for

the estate.

        Upon review of the supplemental application, the Court shall enter the appropriate order.


                THIS ORDER WAS SIGNED AND ENTERED ELECTRONICALLY AS
                        INDICATED AT THE TOP OF THE FIRST PAGE




                                                                      This Order has been electronically
                                                                      signed. The Judge's signature and
                                                                      Court's seal appear at the top of the
                                                                      first page.
                                                                      United States Bankruptcy Court.

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         1BA62@ .@ ;202@@.?F 3<? A52 2336062;A .1:6;6@A?.A6<; <3 A56@ 2@A.A2  <D2C2? )
         D699;<A/22:=9<F21A<?2=?2@2;AA52)?B@A22<?A522@A.A26; *)
          $ #(" '   . :.AA2? 36921 <; 202:/2?          6; .C61@<; <B;AF
         6?0B6A <B?A  $26A52? D699 ) ?2=?2@2;A A52 )?B@A22 6; ?2C62D6;4 <? 2C.9B.A6;4
         .;F =<A2;A6.9 0.B@2@ <3 .0A6<; <? 09.6:@ 3<? 0<;A?6/BA6<; .4.6;@A 3<?:2? ?2026C2?
         &56996=-<B;4(5<B91A52)?B@A22/2962C2A5.A26A52?<3A52@2:.AA2?@D.??.;A@
         2:=9<F:2;A<30<B;@29@52D699@228A<2:=9<F@2=.?.A2@=206.90<B;@29
         
               ;3B?A52?@B==<?A<3A56@(B==92:2;A.;1A52:=9<F:2;A==A52)?B@A22?2962@

B=<;A52:2;121*;@D<?;209.?.A6<;<3&56996=-<B;4 ?1.A21202:/2?                            A52

J:2;121 209.?.A6<;K .AA.0521 52?2A< .@ ==2;16E   )52 :2;121 209.?.A6<;

2@A./96@52@ 0<;A?.?F A< A52 .9924.A6<;@ <3 ?6.; #.;<<86.; 6; 56@ </720A6<; .;1 @B==92:2;A.9

</720A6<; A< A52 #<A6<; A5.A ;26A52? &56996=  -<B;4 ? ;<? ) ?2=?2@2;A@ ;<? 5<91@ .;F

6;A2?2@A .1C2?@2 A< A52 12/A<? <? A52 2@A.A2 D6A5 ?2@=20A A< A52 :.AA2?@ <; D5605 A52F .?2 A< /2

2:=9<F21

              )52:2;121209.?.A6<;.9@<2@A./96@52@A5.A)L@2:=9<F:2;A6;A56@0.@26@6;

A52 /2@A 6;A2?2@A <3 A52 2@A.A2  ; 3.0A 3<? A52 ?2.@<;@ @A.A21 6; A52 :2;121 209.?.A6<; A52

)?B@A22 /2962C2@ A5.A ) 6@ B;6>B29F >B.963621 A< @2?C2 .@ @=206.9 0<B;@29 3<? A52 0<9920A6<; <3

924.9322@<D21A<A56@2@A.A21B2A<A528;<D921426A@.AA<?;2F@4.6;213?<:&56996=-<B;4L@

0<9920A6<; <3 924.9 322@ .@ @A.A2 0<B?A ?2026C2?  #? -<B;4 5.@ 612;A63621 .;1 A.82; @A2=@ A<

@20B?2A522/A<?L@6;A2?2@A6;924.9322@<D21A<6A6;:<?2A5.;.1<G2;0.@2@#?-<B;4D.@


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             $<0.B@2<3.0A6<;6@0B??2;A9F.;A606=.A21.4.6;@A?6.;B::6;4@D5<5.@/22;3B99F
0<<=2?.A6;4D6A5A52AB?;<C2?<3B::6;4@#.;<<86.;322@)52)?B@A22?2@2?C2@A52?645AA<
/?6;4.;.0A6<;.4.6;@A#?B::6;4@@5<B91A5.A0<<=2?.A6<;02.@2

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@B002@@3B96;2;7<6;6;4A5?<B45 .;B.?F           A5216@=<@6A6<;<3      6;322@D5605A52

2@A.A2 :.F ;<D 5.C2 .; 6;A2?2@A  ,2?2 A52 <B?A A< 12;F A52 :=9<F:2;A == A52 )?B@A22

/2962C2@A5.A@52D<B915.C2.;2E02216;49F163360B9AA6:22:=9<F6;4@=206.90<B;@29D5<0.;

21B0.A2A52:@29C2@<;A526@@B2@6;A56@0.@2.;1A.82.0A6<;A<@20B?2A52            =?6<?A<A52

2E=6?.A6<;<3A526;7B;0A6<;<; .;B.?F           00<?16;49F;<A<;9F6@)L@2:=9<F:2;A.@

@=206.9 0<B;@29 6; A52 /2@A 6;A2?2@A <3 A52 2@A.A2 12;6.9 <3 A52 :=9<F:2;A == D<B91 /2

2EA?2:29F=?27B1606.9A<A522@A.A26A@0?216A<?@.;19246A6:.A2=.?A62@6;6;A2?2@A

        ,'%' A52 )?B@A22 ?2@=20A3B99F ?2>B2@A@ 2;A?F <3 .; <?12? 4?.;A6;4 A52 ?29623

?2>B2@A21 6; A52 :=9<F:2;A == @B/720A A< A52 .116A6<;@ .;1 .9A2?.A6<;@ 0<;A.6;21 6; A56@

(B==92:2;A.;13<?@B05<A52?.;13B?A52??29623.@6@7B@A

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                                                             $.@5C6992)$  
                                                             )292=5<;2  
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                                                    

         C2?63FB;12?=2;.9AF<3=2?7B?FA5.AA52@A.A2:2;A@0<;A.6;216;A523<?24<6;41<0B:2;A

.;16;A56@:2;121209.?.A6<;.?2A?B2.;10<??20AA<A52/2@A<3:F8;<D921426;3<?:.A6<;

.;1/29623)56@:2;121209.?.A6<;6@6;A2;121A<@B==92:2;A:F=?6<?209.?.A6<;.;1A52

A2@A6:<;F<332?216;0<B?A<;202:/2?              =B?@B.;AA<A52<B?AL@?2>B2@A.@D299.@

A52 )?B@A22L@ '2@=<;@2 36921 <; 202:/2?                   <0  A< ?6.; #.;<<86.;L@

@B==92:2;A.9?2=9F)52=B?=<@2<3A56@:2;121209.?.A6<;6@A<092.?9F.;10<:=92A29F12A.69

3<?A52<B?A:F6;C<9C2:2;A6;:.AA2?@?29.A21A<A56@0.@2.;1.;F@<B?02@<3=<A2;A6.90<;3960A

D52A52? <? ;<A @B05 =<A2;A6.9 0<;3960A@ .?2 ?29.A21 A< A52 :.AA2?@ <; D5605 :F 36?: 6@ A< /2

2:=9<F21

        $26A52?;<?)5<:=@<;B?A<;&""<3D5605.:.:2:/2?5.@.;6;A2?2@A.1C2?@2

A< A52 2@A.A2 D6A5 ?2@=20A A< A52 :.AA2?@ <; D5605 D2 .?2 A< /2 2:=9<F21  #<?2 @=206360.99F

;26A52?;<?)5<:=@<;B?A<;&""5.@.;F6;A2?2@AA5.AD<B91.1C2?@29F.3320AA520<9920A6<;

<3924.9322@<D21A<B::6;4@#.;<<86.;&" 

         36?@A /20.:2 6;C<9C21 6; A56@ :.AA2? <; B;2        D52;  D.@ .==<6;A21 /F A52

,6996.:@<;<B;AF6?0B6A<B?A6;A520.@2<3"&"%&" & "

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A52J(A.A2<B?A0A6<;KA<@2?C2.@?2026C2?=B?@B.;AA<)2;;<12;;HH                .;1 

       3<?A522E20BA6<;<3.92CF<;05<@2@6;.0A6<;<?.00<B;A@?2026C./923<?924.9322@<D21


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             ;@<:21<0B:2;A@B::6;4@#.;<<86.;6@96@A21.@JB::6;4@#.;<<86.;&"K
.;16;<A52?@@B05.@A52&2A6A6<;.@JB::6;4@#.;<<86.;&""K)52(20?2A.?F<3(A.A2
@5<D@A52=?<=2?;.:26@JB::6;4@#.;<<86.;&"K

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                                                                                                                  89
<3A522/A<?.;1.;<;12/A<?2;A6AF.::2?C<91&".AA.05A<A56@:2;121209.?.A6<;.

0<=F<3/<A5A52:<A6<;A<.==<6;A.?2026C2?6;A52(A.A2<B?A0A6<;E56/6A .;1A52<?12?

A5.A.==<6;A21:2?2026C2?6;A52(A.A2<B?A0A6<;E56/6A ;A52'2026C2?@56=0A6<;

D.@A.@821D6A50<9920A6;4A5205<@2@6;.0A6<;<3B::6;4@#.;<<86.;&".;1.::2?C<91

&"6;3B?A52?.;02<3A520<9920A6<;<3.             @.;0A6<;.D.?1216;3.C<?<3A52(A.A2<B?A

0A6<;=9.6;A633@.4.6;@AB::6;4@#.;<<86.;&".::2?C<91&"?6.;#.;<<86.;.;1

#.?8.::2?C<91D.@;<A6;C<9C216;A52=?<02216;4@A5.A921A<A52.D.?1<3A52@.;0A6<;@

'.A52?D.@A.@821/FA52@A.A20<B?A=B?@B.;AA<A52@A.A292CF.;12E20BA6<;@A.ABA2@A<0<9920A

<; 05<@2@ 6; .0A6<; A5.A :645A /2 B@21 A< =.F A52 7B14:2;A   D.@ ;<A .BA5<?6G21 A< :.82

16@A?6/BA6<;@D6A5<BA3B?A52?0<B?A<?12?

        161;<A@2?C2.@?2026C2?<C2?B::6;4@#.;<<86.;&";<?.::2?C<91&")5.A

6@/2F<;1A520<9920A6<;<3322@<D21A<A5<@2AD<2;A6A62@A<<8;<.0A6<;@6;A526?;.:2161

;<AB;12?A.82A<?B;A52/B@6;2@@2@<3A5<@2AD<36?:@161;<A:.?@5.9.;F.@@2A@<3A5<@236?:@

/2F<;1A526?05<@2@6;.0A6<;161;<A2C.9B.A2A526?6;12/A21;2@@.;1161;<A2C.9B.A2.;F<A52?

.@@2A@  '.A52?  92C621 <; .AA<?;2F@L 322@ A5.A D2?2 <D21 A< A52 36?:@ =B?@B.;A A< A52 @A.A2

0<B?AL@<?12?.;1A52@A.A292CF@A.ABA2@D5605.BA5<?6G292C62@/F@52?633<?/F?2026C2?

        %;2<3A52@=206360=<D2?@D.@46C2;/FA520<B?A6;A52(A.A2<B?A0A6<;D.@A<3692

.AA<?;2F@L 962;@ 6; .;F .0A6<; 6; D5605 B::6;4@ #.;<<86.; &"<? .::2?C<91 &" D2?2

<D21 .AA<?;2F@L 322@  ; 3B?A52?.;02 <3 A5.A A52 @A.A2 0<B?A16?20A21 02?A.6; =.?A62@  6;09B16;4

?6.;B::6;4@?6.;#.;<<86.;.;1#.?8.::2?C<91A<=?<C612:2.96@A<3.990.@2@6;

D5605B::6;4@#.;<<86.;&"<?.::2?C<91&":645A5.C2.;6;A2?2@A6;322@.;1.;F

1<0B:2;A@ ?29.A21 A< A5<@2 0.@2@  3A2? ?2026C6;4 A52 96@A@ 3?<: A52@2 =.?A62@ /BA ;<A 5.C6;4

?2026C211<0B:2;A@D5605921A<:F3696;4.:<A6<;A<0<:=29.;1.3A2?=2?@<;.99F0<;1B0A6;4



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.@2.?05<30<B?A?20<?1@<30<B;A62@D6A56;A52#2A?<$.@5C6992.?2.36921.AA<?;2F@L962;@6;

A523<99<D6;40.@2@

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    #.;<<86.;C&2;;@F9C.;6.6452?1B0.A6<;2A.9                                     .C61@<;6?0B6A
    .692FC                                                                        .C61@<;6?0B6A
    .9.FCBA@<;2A.9                                                                .C61@<;6?0B6A
    208D<?A5C"#                                                                    ,6996.:@<;6?0B6A
    ?<<8@C'26;86;4                                                                   .C61@<;6?0B6A
    F2?C+.;12?/69A:.46;4                                                           .C61@<;6?0B6A
    6AG42?.91C%@/<?;                                                                 ,6996.:@<;6?0B6A
    #6992?C+.;12?/69A#2160.9                                                         .C61@<;6?0B6A
    'B336;<C?052?                                                                    #)2;;
    (.9.@C'<@12BA@052?2A.9                                                          .C61@<;6?0B6A
    (5<2:.82?C+.;12?/69A#2160.9                                                      .C61@<;6?0B6A
    )5<:=@<;C(61?F@                                                                   &BA;.:6?0B6A
    ,.91?<;C#<;?<2<B;AF                                                             #<;?<26?0B6A
    ,52292?<;16;4<C&.?8@                                                         .C61@<;6?0B6A
    ,<93C#61B:/2?9.;1'2@<B?02@42;0F                                              'BA52?3<?16?0B6A
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         %; B9F       ?2026C21 05208@ 3?<: ?6.; B::6;4@ 3<? .::2?C<91 &"L@ .;1

B::6;4@ #.;<<86.; &"L@ 6;A2?2@A 6; 322@ 3<? AD< 0.@2@ A5.A 5.1 7B@A @2AA921 =?6<? A< :F

?20<?16;4<3.AA<?;2F@L962;@4.6;<;(2=A2:/2?           ?6.;B::6;4@AB?;21<C2?A<:2

322@ .;1 2E=2;@2@ A5.A D2?2 <D21 A< .::2?C<91 &" .;1 B::6;4@ #.;<<86.; &" <;

.00<B;A<3A52@2AA92:2;A<3A52#!$&#")%,&:.AA2?6;&BA;.:<B;AF6?0B6A<B?A;

A<A.9 .@ ?2026C2?  .: 0B??2;A9F 5<916;4 6; A?B@A               92C621 3?<:

.::2?C<91 &" 05<@2@ 6; .0A6<; .;1   92C621 3?<: B::6;4@ #.;<<86.; &"

05<@2@ 6; .0A6<;  %3 A52 .:<B;A@ /26;4 5291 <; .00<B;A <3 B::6;4@ #.;<<86.; 05<@2@ 6;

.0A6<;        D.@92C621D6A56;A52;6;2AF1.F@=?6<?A<A56@/.;8?B=A0F5.C26;3<?:21

A52 )?B@A22 A5.A  D<B91 5.C2 ;< =.?A606=.A6<; 6; .;F 2C.9B.A6<; <3 D52A52? A56@ .:<B;A D.@

?20<C2?./92/FA522@A.A2A5.AD<B910<;A6;B25<916;4A5.A:<;2F6;A?B@A=2;16;4.1206@6<;


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                                                                                                                91
/FA52)?B@A22<;A5.A:.AA2?.;1A5.AD<B910<<=2?.A2D6A5.;F?2>B2@A:.12B=<;:2D6A5

?24.?1A<A5<@23B;1@

        *;A69 B4B@A            :F ?<92 .@ ?2026C2? =?6:.?69F 6;C<9C21 A52 3696;4 <3 .AA<?;2F@L

962;@.;1A52.AA2:=A@@<:2A6:2@C6.:<A6<;@A<0<:=29A<4.A52?6;3<?:.A6<;;221213<?:F

0<9920A6<;<3A5205<@2@6;.0A6<;%;B4B@A              92.?;21A5.A<;2<3A520.@2@6;D5605

5.136921.;.AA<?;2F@L962;A52 '-% 0.@2D.@;2.?6;4.?2@<9BA6<;.;1A5.A6AD.@2E=20A21

A<=?<1B02.3222E02216;4 :6996<;?2.0521<BAA<0<B;@293<?A521232;1.;A6;A5.A:.AA2?

.;192.?;21A5.A?6.;#.;<<86.;5.16;@A?B0A21A5.AA521232;1.;A:.82.9932205208@=.F./92

A< .45 ".D &"" . 9.D 36?: A5.A  8;2D A< /2 <D;21 .;1 0<;A?<9921 /F #? #.;<<86.;L@

D6323@<<;.45.;1D56050<?=<?.A22;A6AF5.1;<A/22;0?2.A21B;A69#.?05                     I;2.?9F.

F2.?.3A2?A52 '-% 0.@2D.@36921,5692D.@.D.?2A5.A#@.455.1/22;6;C<9C216;

A52 '-%  0.@2  .9@< 8;2D A5.A A52 0.@2 5.1 /22; 36921 3<? A52 &9.6;A633 /F B::6;4@

#.;<<86.;   ?2.0521 <BA A< 1232;@2 0<B;@29 A< ?2:6;1 56: <3 A52 .AA<?;2F@L 962; 36921 6; A52

0.@2526;3<?:21:2A5.A526;A2;121A<=.F.99322@<C2?A<.45".D&""=B?@B.;AA<#?

#.;<<86.;L@?2>B2@A

        ; <?12? A< =?<A20A A52 ?2026C2?@56= 2@A.A2L@ 6;A2?2@A 6; A52 '-%  322  36921 .; +

$%':<A6<;3<?.A2:=<?.?F?2@A?.6;6;4<?12?<;B4B@A                   )52@A.A20<B?A4?.;A21A52

:<A6<; .;1  .AA.05 A52 A2:=<?.?F ?2@A?.6;6;4 <?12? A5.A =?2C2;A21 A52 16@=<@6A6<; <3 A52

    '-% 322@52?2A<.@E56/6A ;?2@=<;@2A<A56@)'%/<A5#?#.;<<86.;<;/25.93<3

A52 '-%  =9.6;A633@ .;1 A52 0<B;@29 3<? A52 1232;1.;A@ 6; A5.A 0.@2 A5?2.A2;21 A< C<61 A52

@2AA92:2;A63D<B91;<A.4?22A<.99<DA52322@A</2=.61A<.45".D&""*9A6:.A29F#?

#.;<<86.; .;1  ?2.0521 .; .4?22:2;A <; A56@ 6@@B2 D2 .4?221 A5.A .45 ".D &"" D<B91

12=<@6A.;15<91            6;6A@%")A?B@A.00<B;A=2;16;43B?A52?<?12?<3A520<B?A/BAA5.A



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                                                                                                                      92
A52?2:.6;12?<3A523222.?;216;A52 '-% 0.@20<B91/216@A?6/BA21A<.45".D)52

<?12?A5.A?2@<9C21A56@)'%6@.AA.052152?2A<.@E56/6A

        )5?<B45<BA (2=A2:/2? .;1 6;A< %0A</2?  0<;A6;B21 :F 6;C2@A64.A6<; 6;A< B::6;4@

#.;<<86.;L@<D;2?@56=6;A2?2@A6;A52 '-% 3B;1@.;1322@6;<A52?0.@2@;3B?A52?.;02<3

A5.A  :2A D6A5 #? #.;<<86.; .;1 ?2>B2@A21 1<0B:2;A@ <3 56:  ?2026C21 @<:2 ?2@=<;@6C2

1<0B:2;A@ /BA ;2C2? ?2026C21 .99 ?2>B2@A21 1<0B:2;A@ 6;09B16;4 :<@A ;<A./9F . =B?=<?A21

2;4.42:2;A92AA2?/2AD22;.45".D&"".;1A52 '-% =9.6;A633@D5605#?#.;<<86.;

09.6:@=<@A1.A21A522;4.42:2;A92AA2?D6A5B::6;4@#.;<<86.;&"

         ,5692 6; A52 =?<02@@ <3 4.A52?6;4 A56@ 6;3<?:.A6<;  92.?;21 A5.A .45 ".D &"" 5.1

A?.;@32??21 A52        3?<: .; %") A?B@A .00<B;A 6;A< . ;<?:.9 052086;4 .00<B;A 6; A52

;.:2 <3 J3@<<; .45 1 / . .45 ".D &""K  #? #.;<<86.; A<91 :2 A5.A A52 :<;2F 5.1

/22;:<C21.AA5216?20A6<;<3A52<.?1<3&?<32@@6<;.9'2@=<;@6/696AF/20.B@2A52)2;;2@@22

'B92@<3&?<32@@6<;.9<;1B0A161;<A.99<D.;.AA<?;2FA<:.6;A.6;3B;1@6;.A?B@A.00<B;A.3A2?

. 9.D@B6A D.@ ?2@<9C21  <;02?;21 ./<BA A52 @.32AF <3 A52@2 3B;1@ .;1 .45 ".DL@ B;69.A2?.9

1206@6<;A<:<C2A52@23B;1@D6A5<BA?296233?<:A52=?6<?<?12?36921.:<A6<;.@86;4A52@A.A2

0<B?AA<<?12?3@<<;.45.;1 <?.45".D&""A<12=<@6AA52                   D6A5A52@A.A20<B?A

)52 @A.A2 0<B?A ?B921 <; $<C2:/2?         A5.A 3@<<; .45 .;1 .45 ".D &"" D2?2

<?12?21A<12=<@6A         D6A5A52@A.A20<B?A/F;<9.A2?A5.;;<<;<;$<C2:/2?                 

)5.A@.:21.F?6.;#.;<<86.;D5<5.136921.;.==2.?.;026;A520.@2.@0<B;@293<?3@<<;

.45 .;1 .45 ".D &"" 6;3<?:21 A52 0<B?AL@ @20?2A.?F A5.A 52 D<B91 /2 @B/:6AA6;4 .

0<:=2A6;4 <?12? .;1 A5.A A52 0<B?A @5<B91 ;<A 2;A2? A52 <?12? 3<? @2C2; 1.F@  )52 ;2EA 1.F

$<C2:/2?          #? #.;<<86.; 36921 A56@ /.;8?B=A0F 0.@2 <; /25.93 <3 B::6;4@

#.;<<86.;&"%;$<C2:/2?             5236921.;<A602<3D6A51?.D.9<30<B;@293<?3@<<;



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                                                                                                                  93
.45.;1.45".D&""/20.B@256@9.D9602;@25.1.4.6;/22;@B@=2;121/FA52<.?1<3

&?<32@@6<;.9'2@=<;@6/696AF)52@A.A20<B?A2;A2?21A52<?12??2>B6?6;43@<<;.45.;1.45

".D&""A<12=<@6A3B;1@D6A5A52@A.A20<B?A<;$<C2:/2?                         5.C2.AA.0521.0<=F

<3A5.A<?12?52?2A<.@E56/6A

          %;A52.3A2?;<<;<3$<C2:/2?                 0.9921A52,6996.:@<;<B;AF6?0B6A<B?AA<

0<;36?: D52A52? 3@<<; .45 5.1 12=<@6A21 A52                /F ;<<; .@ ?2>B6?21 /F A52 0<B?AL@

<?12?)52092?86;160.A21A5.A;<:<;2F5.1/22;12=<@6A210.9921AD602:<?2<C2?A52;2EA

@6E1.F@.;12.05A6:2A520<B?A092?86;160.A21A5.A;<:<;2F5.1/22;12=<@6A21/F#@.45

%;$<C2:/2?           .3A2?0<;@B9A6;4D6A5A52)?B@A226;A56@0.@236921.;+$%':<A6<;

D6A5A52@A.A20<B?A@2286;4.A2:=<?.?F?2@A?.6;6;4<?12?A<3?22G2                     6;3@<<;.45L@

.;1 <? .45 ".D &""L@ /.;8 .00<B;A@  )52 0<B?A 2;A2?21 . A2:=<?.?F ?2@A?.6;6;4 <?12? .

0<=F <3 D5605 6@ .AA.0521 .@ E56/6A   )52 A2:=<?.?F ?2@A?.6;6;4 <?12? D.@ .:2;121 .;1

2EA2;121.@#@.45?2>B2@A21A5.AA5252.?6;4<;A526;7B;0A6<;/20<;A6;B21;6;7B;0A6<;

52.?6;4D.@B9A6:.A29F5291<;202:/2?                   ?6.;#.;<<86.;.==2.?21.AA5252.?6;4.@

161 <5;(=?.42;@0<B;@293<?.45".D&"".;13@<<;.45.==2.?21.@'2026C2?.;1

A52 )?B@A22 .AA2;121 .@ D299  99 =.?A62@ .4?221 A5.A .; 6;7B;0A6<; 3?22G6;4 @<:2 <3 A52

    '-%  322@ D<B91 ?2:.6; 6; =9.02 A5?<B45 .;B.?F                 .;1 A52 =.?A62@ .4?221 A5.A

/20.B@2 <3 A52 2/A<?L@ /.;8?B=A0F 3696;4 A52 .;8?B=A0F <B?A D.@ A52 =?<=2? 3<?B: 3<?

12A2?:6;6;4 <D;2?@56= <3 A5<@2 322@  )52 @A.A2 0<B?A 2;A2?21 A52 6;7B;0A6<; <?12? 6; D5605 52

16?20A21A5.A         ?2:.6;3?<G2;A5?<B45 .;B.?F              0<=F<3A5.A<?12?6@.AA.0521

.@E56/6A

          )52 2/A<? 161 ;<A 3692 @0521B92@ 6; A56@ 0.@2 B;A69 $<C2:/2?             ,52; 6A 36921

@0521B92@A522/A<?96@A21;<6;A2?2@A6;A52 '-% 3B;1@.@.=<A2;A6.9.@@2AA5<B45#?



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                                                                                                                         94
#.;<<86.;D.@.D.?2A5.AA5<@23B;1@D2?26;16@=BA2)52@0521B92@.9@<96@A21;<0.B@2<3

.0A6<;.4.6;:2.@?2026C2?96@A21;<12/AA<3@<<;.45<?.45".D&"".;1161;<A96@A

#@.45<?52?36?:.@.0?216A<?<3A522@A.A2

         (5<?A9F.3A2?A523696;4<3A56@0.@2A52)?B@A22.@821:2A<@2?C2.@@=206.90<B;@296;

A56@0.@2;.116A6<;A<A523.0AA5.A:F36?:.;1?<BA6;29F?2=?2@2;A5.=A2?A?B@A22@6;A56@

16@A?60AA52)?B@A22@=206360.99F6;160.A21A5.A@52329AA5.AA528;<D921425.14.6;211B?6;4:F

A6:2 .@ ?2026C2? D<B91 /2 6;C.9B./92 A< 52? 6; 0<9920A6;4 A52 .00<B;A@ ?2026C./92 <3 A52 2@A.A2

23<?2 .4?226;4 A< @2?C2 .@ @=206.9 0<B;@29  @=2;A 0<;@612?./92 A6:2 0<;@612?6;4 =<@@6/92

0<;3960A@.;116@0B@@6;4A52@.:2D6A5A52)?B@A22.;1A52*;6A21(A.A2@)?B@A22L@<336023A2?

0<;@612?6;4.996@@B2@.;14.A52?6;46;=BA3?<:A52@2@<B?02@12A2?:6;21A5.AA52?2D<B91/2

;< 0<;3960A 6; :2 @2?C6;4 .@ @=206.9 0<B;@29 6; A56@ 0.@2  ; 3B?A52?.;02 <3 A56@  36921 A52

:=9<F:2;A==<;$<C2:/2?                 %;202:/2?         ?6.;#.;<<86.;A523<?:2?

=?6;06=.9<3A522/A<?36921.;</720A6<;A<A52:=9<F:2;A==)52/.@6@3<?56@</720A6<;

D.@A5.A)5<:=@<;B?A<;&"".;1D2?24<6;4A</2@B21/F56@D6323@<<;.45.;1 <?

.45 ".D &"" 3<? .0A6<;@  A<<8 .@ ?2026C2?  2 .992421 A5.A A56@ D<B91 0?2.A2 . 0<;3960A

/2AD22;A522/A<?.;1.;1D<B9116@>B.963F:23?<:@2?C6;4.@@=206.90<B;@29%A52?A5.;

42;2?.9A5?2.A@<396A64.A6<;D5605#?#.;<<86.;:.12?.A52?3?2>B2;A9FA56@D.@A5236?@A

92.?;21A5.A#@.45.;1 <?52?9.D36?:.992421.0.B@2<3.0A6<;.4.6;@A:F9.D36?:<?:2

         %;A52:<?;6;4<3202:/2?              A521.F/23<?2A5252.?6;4<;A52:=9<F:2;A

==?2026C21.92AA2?/F3.0@6:692A5.A=B?=<?A21A</23?<:3@<<;.45;A5292AA2?#@

.45 A5?2.A2;21 A< @B2 :2 )5<:=@<; B?A<; &"" .;1 <? A52 2/A<? 3<? :F .0A6<;@ .@

?2026C2?:<?2@=206360.99F@52.992421A5.A?20<?121J/<4B@.AA<?;2F962;@K6;0.@2@6;D5605

@52@.61B::6;4@#.;<<86.;&"5.1;<6;A2?2@A)5292AA2?@.61A5.A@52D<B91/23696;4.



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                                                                                                                     95
9.D@B6A<;202:/2?            ".A2?A5.A1.F#?#.;<<86.;@2;A.;2:.69A</<A5A52)?B@A22

.;1  12:.;16;4 A5.A D2 6;12:;63F 56: .@ =?6;06=.9 <3 A52 2/A<? .4.6;@A 09.6:@ <3 3@<<;

.45.;1 <?.45".D&""161;<A?2@=<;1A<A52@20<::B;60.A6<;@2E02=AA<A522EA2;A

A5.A161@<.AA5252.?6;46;A56@<B?A<;202:/2?           

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